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                 UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF NEW YORK



  ATHENA CLARKE, JENNIFER
  KLINE, and others similarly situated,

                        Plaintiffs,
                                             CLASS ACTION COMPLAINT
           -against-
                                             Jury Trial Demanded
  THE CITY OF NEW YORK, and the
                                                 25-cv-536
  NEW YORK CITY DEPARTMENT OF
  EDUCATION,

                        Defendants.


       The above-named Plaintiffs, through their counsel, stand before this honorable

 court seeking justice and compensation for unlawful religious discrimination carried

 out by their employer, the New York City Department of Education (“DOE”) in

 concert with the City of New York (the “City”). Plaintiffs assert claims under Title

 VII of the Civil Rights Act of 1964, as amended (“Title VII”), 4200 U.S.C. § 2000e, et

 seq; 42 U.S.C.§1983, for the deprivation of rights under the First Amendment and

 Fourteenth Amendment of the United States Constitution; the New York City

 Human Rights Law (“CHRL”), NYC Administrative Code Title 8, and the New York

 State Human Rights Law (“SHRL”), NY Executive Law § 296, et seq. They bring this

 lawsuit on behalf of themselves, and others similarly situated.

               INTRODUCTION AND SUMMARY OF THE CASE




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       1.       This case arose because the City, working in concert with its DOE,

 engaged in widespread religious discrimination in an attempt to evade statutory

 obligations to accommodate religious practices of DOE employees that conflicted with

 the City’s Covid-19 vaccine mandate.

       2.       Through this lawsuit, Plaintiffs seek to safeguard religious freedom for

 themselves and others similarly situated and to restore justice and dignity to

 educators who spent their careers faithfully serving New York City’s public-school

 children.

                            JURISDICTION AND VENUE

       3.       This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331

 and 1343. Plaintiffs further invoke the supplemental jurisdiction of this Court

 pursuant to 28 U.S.C. § 1367(a) to hear related claims arising under New York State

 law because they are so related to the federal claims that they form part of the same

 controversy.

       4.       Venue is proper in this district under 28 U.S.C § 1391(b) because it is

 the district in which a substantial part of the events giving rise to Plaintiffs’ claims

 occurred.

                                        PARTIES

       5.       Plaintiff ATHENA CLARKE is a resident of Kings County, New York.

 Prior to being denied religious accommodation, Ms. Clarke was a tenured special

 education teacher in good standing. She worked in Brooklyn with over six years of

 service at DOE. Ms. Clarke is one of thousands harmed by Defendants’

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 discriminatory religious accommodation policies and seeks justice for herself and

 others similarly situated.

       6.     Plaintiff JENNIFER KLINE is a resident of Lake County, Florida with

 sincerely held religious objections to the Covid-19 vaccine. Prior to being denied

 religious accommodation, Ms. Clarke was a tenured special education teacher

 working in good standing. She worked in Queens with over seventeen years of service

 at DOE. She is one of thousands harmed by Defendants’ discriminatory religious

 accommodation policies and seeks justice for herself and others similarly situated.

       7.     Defendant CITY OF NEW YORK is a municipal corporation of the State

 of New York and can sue and be sued. The City operates and employs people through

 its municipal agencies. Since 2002, the City has exercised Mayoral control over DOE

 pursuant to a grant of authority to the City from the State Legislature.

       8.     Defendant DOE is a school board organized under, and existing

 pursuant to, the New York Education Law. Defendant DOE maintains its

 headquarters at 52 Chambers Street, New York, New York and operates in all five

 boroughs of the City of New York. The Mayor of the City of New York exercises

 mayoral control over the DOE.

                              BACKGROUND FACTS

 The Pandemic

       9.     In the fall of 2019, the Covid-19 virus began circulating in New York

 City and around the world.



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          10.    In March 2020, New York State declared a state-disaster emergency due

  to the Covid-19 pandemic.

          11.    Schools were closed for in-person learning for the remainder of the

  Spring 2020 semester across the state.

          12.    From March 2020 through June 2020, New York City conducted all

  educational programming through remote education.

          13.    Plaintiffs and all other teachers and educators handled their work

  remotely during this period.

          14.    In the fall of 2020, DOE schools reopened for in-person learning, with

  the option of remote instruction if families preferred that option.

          15.    Many students returned to in person learning in classrooms.

          16.    Teachers and most staff were required to return to in-person instruction

  in the fall of 2020.

          17.    However, DOE liberally granted accommodations to most DOE

  employees who wished to work from home or remotely during the 2020-2021 school

  year.

          18.    In or around December 2020, vaccines became available against Covid-

  19.

          19.    But even though most teachers and staff along with a large percentage

  of students were back in person, there was no vaccine mandate during the 2020-2021

  school year.



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          20.    DOE allowed Plaintiffs to continue to work unvaccinated for the entire

     rest of the school year and following summer of 2021.

          21.    On June 23, 2021, Governor Cuomo announced that the pandemic

     emergency was officially over in New York State.

          22.    By the end of July 2021, the scientific consensus among world public

     health leaders coalesced around three facts:

                 a. vaccinated people could still catch and spread SARS-CoV-2 and were

                      equally as infectious as unvaccinated people when they did; and

                 b. herd immunity could not be achieved through vaccination; and

                 c. any vaccine protection waned significantly after a matter of weeks.

          23.    By August 2021, governments around the world publicly acknowledged

 that vaccination would not stop the spread of the virus, and that everyone, vaccinated

 and unvaccinated alike, would likely catch Covid-19.

          24.    On August 5, 2021, Centers for Disease Control and Prevention (“CDC”)

 Director Rochelle at the time Rochelle Walensky acknowledged on national television

 that the vaccines could not stop transmission of Covid-19.

          25.    During an interview with Wolf Blitzer, Dr. Walensky said: “what [the

 vaccines] can’t do anymore is prevent transmission.” When asked if asymptomatic

 vaccinated people could pass on the virus, Dr. Walensky further stated, “that’s exactly

 right.” 1



 1
  Blitzer, W. (2021, August 5). Transcript: Interview with CDC Director Dr. Walensky. The Situation Room, CNN.
 http://www.cnn.com/TRANSCRIPTS/2108/05/sitroom.02.html
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 The DOE’s “Emergency” Mandate

       26.      Rather than scale back any vaccine requirements, the Mayor reacted

 to the CDC’s public acknowledgment that the Covid-19 vaccines cannot stop

 transmission by becoming more zealous about vaccine requirements.

       27.      Earlier that summer, the City had issued a vaccine requirement (to

 take effect in September 2021) for DOE employees, but offered the alternative that

 employees could test weekly if they did not want to get vaccinated.

       28.      On or about August 24, 2021, two and a half weeks after the CDC

 Director admitted on national television that the vaccines cannot stop transmission,

 Mayor Bill de Blasio and Commissioner Chokshi changed course, issuing the first

 version of a new temporary “emergency” regulation mandating Covid-19 vaccination

 for most DOE employees with no option to test in lieu of vaccination.

       29.      No new emergency justified this new aggressive mandate.

       30.      Most employees, including Plaintiffs, had already been working in

 person unvaccinated for over a year throughout the worst of the pandemic when the

 mandate was put in place.

       31.      There were no urgent increases in hospitalizations or deaths

 necessitating the implementation of these policies in New York City when the

 Mandate was announced.

       32.      Nor did it make sense to remove the option of testing in lieu of

 vaccination.

       33.      The City knew, or should have known, that there was insufficient

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 evidence to conclude that Covid-19 vaccines could stop transmission.

       34.     The City knew or should have known that the objective science

 available at the time showed clearly that those with natural immunity, such as

 Plaintiffs, had far superior and longer lasting immunity than those who were

 vaccinated.

       35.     The City knew, or should have known, that there was insufficient

 evidence to support the theory that unvaccinated people posed more of a danger to

 the public than vaccinated.

       36.     The City knew, or should have known, that it would not have caused

 substantial hardship to mitigate any speculative additional risk by allowing

 exemptions for those with natural immunity, allowing all other unvaccinated

 teachers to test weekly, symptom checks, social distancing, remote work and rapid

 testing, among other measures.

       37.     The City also knew, or should have known, that many DOE employees

 had sincere religious objections that did not allow them to take vaccines.

       38.     Nonetheless, both the City and DOE announced that not only were they

 imposing a no testing option Mandate, but they would also not even consider any

 religious or medical accommodation requests from the vaccine Mandate for any DOE

 employee.

       39.     When making this announcement, Mayor Bill de Blasio repeatedly

 expressed hostility towards religious opposition to vaccines, suggesting there was no

 valid religious objection according to his understanding of scripture.

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       40.     While   the   Mandate     did   not   originally   allow   for   religious

 accommodation, there were carve-outs made in it for secular reasons that defeated

 the stated purpose of the Mandate in the same way or worse than religious

 accommodations for the fraction of the staff that needed them would have.

       41.     For example, there was no mandate for students in the fall of 2021.

       42.     This means that over one million school children were allowed to attend

 school each day unvaccinated after the mandate went into effect.

       43.     Given this fact, herd immunity would not have been possible even if

 the vaccines could have stopped transmission, as students would still be exposed to

 their unvaccinated classmates even if 100% of all teachers and staff were fully

 vaccinated.

       44.     If all DOE staff were vaccinated, they would still reflect less than ten

 percent of the total population in schools.

       45.     It was well-established science that ten percent vaccination rates could

 never stop transmission of Covid-19 in a community, even for vaccines that can

 prevent infection and transmission in the recipient.

       46.     The vaccine status of one teacher in a classroom with twenty to fifty

 unvaccinated students could not have any impact on stopping the spread of Covid-

 19, even if the vaccines did stop transmission.

       47.     The Mandate allowed other carve-outs for secular reasons as well.

       48.     For example, unvaccinated bus drivers were allowed to continue

 driving students in enclosed buses due to staffing issues.

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       49.    And unvaccinated members of the public could come to the schools to

 vote and man volunteer tables, among other reason.

       50.    Several New York State court decisions have held that the reasoning

 for the Covid-19 vaccine mandates was irrational and cannot pass the rational basis

 test in an article 78 proceeding.

       51.    The DOE Mandate states on its face that it primarily relied on the

 state’s healthcare worker mandate to justify its imposition of the DOE Mandate.

       52.    The healthcare worker mandate was later struck down by the New

 York State Supreme Court as arbitrary and capricious, in part because of the New

 York State Department of Health’s admission that the vaccines cannot stop the

 spread of the Covid-19 virus and in part because the New York State Department of

 Health lacked the authority to issue the “emergency” mandate.

       53.    The state’s appeal of that decision was dismissed, and the Supreme

 Court’s decision stands as the law.

       54.    Similarly, in October 2022, the City’s municipal worker mandates were

 declared null, void, and unenforceable ab initio in an article 78 proceeding in New

 York State Supreme Court, because the Court found that the City’s executive branch

 lacked the power to impose conditions of employment, but also because the Court

 determined it was arbitrary and capricious to mandate Covid-19 vaccination in the

 workplace when the City allowed the public to continue to freely interact

 unvaccinated with the workers and workplaces.

       55.    And in September 2023, the New York State Supreme Court held that

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 the City’s undue hardship defense for denying religious accommodation to DOE

 workers was arbitrary and capricious. In making this determination, the Court

 pointed out that the City offered no valid reason why some people were

 accommodated while others similarly situated were not, and did not explain how one

 million unvaccinated students could safely go to school each day but teachers and

 other administrators posed a direct threat.

        56.   Whether or not the City prevails in its appeals against the City

 mandates, these holdings show that a reasonable person could find that the vaccine

 mandates cannot meet rational basis review, leave aside the compelling interest

 test, and that the government did not meet its burden of proving the “undue

 hardship” defense.

 Pfizer’s Influence

        57.   Upon information and belief, one reason that the City decided to pass

 such aggressive mandates and keep them in place so long despite the scientific

 consensus that they could not stop transmission was due to political and economic

 pressure and/or incentives from Pfizer, Inc (“Pfizer”).

        58.   Pfizer exercises significant financial influence in New York City

 politics.

        59.   Pfizer is headquartered in New York City and was the only

 pharmaceutical company to gain FDA approval of their Covid-19 vaccine in 2021.

        60.   The DOE Mandate was not timed to meet any new health emergency,

 but it was expressly timed to coincide with Pfizer’s receipt of FDA approval for the

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 first licensed Covid-19 vaccine in or around August 2021.

       61.    Pfizer is a major donor and employer in New York City.

       62.    Pfizer donated money to help elect Mayor de Blasio.

       63.    Pfizer also donated money that went to help elect Mayor de Blasio’s

 successor, Eric Adams.

       64.    Upon information and belief, both Mayor de Blasio and Mayor Adams

 own stock in Pfizer.

       65.    Pfizer’s stock prices would be significantly impacted by the amount of

 vaccine uptake in the first two quarters after vaccine approval (ending September

 30, 2021, and December 31, 2021).

       66.    It has been well-documented that vaccine mandates impact Pfizer’s

 stock prices significantly too.

       67.    New York City’s mandates were the first “no accommodation” employee

 vaccination mandates in the country.

       68.    Upon information and belief, eliminating, or at least vastly reducing,

 the availability of accommodations to vaccine mandates, was part of Pfizer’s

 business model.

       69.    Pfizer knew, before the Mandate went into effect, that its vaccine was

 not effective against the new strains of Covid-19, including Delta and Omicron

 strains.

       70.    Aggressive vaccine mandates could help ensure that the vaccine would

 be profitable as people began to realize that the vaccinated were catching Covid-19

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 as readily as the unvaccinated – because if there were mandates, employees would

 have no choice but to keep taking the vaccines if they wanted to keep their jobs.

       71.    Upon information and belief, Pfizer representatives were in

 communication with the Mayor’s office prior to the enactment of the Mandate and

 encouraged the Mayor to enact aggressive mandates on or before the end of

 September, 2021.

       72.    Upon information and belief, Pfizer and the City attempted to

 implement New York City’s no or low accommodation mandate to serve as a model

 that could be adopted by other cities after it was established in New York City.

       73.    Pfizer agreed to give the NYC DOE over one million dollars in grants

 after the mandate was implemented.

 Labor Disputes and Lawsuits

       74.    Whatever the motive, New York City labor unions unanimously decried

 the DOE Mandate from the start as reckless and unlawful and announced that they

 would be taking legal action.

       75.    Leaders from all major impacted unions, as well as the Municipal Labor

 Committee (“MLC”), and leaders from each of the member unions of the MLC all put

 out statements that the DOE Mandate violates basic legal rights.

       76.    Mass protests, lawsuits, and labor disputes ensued immediately upon

 the announcement of the Mandate.

       77.    On or about September 9, 2021, the MLC and sixteen unions filed a

 lawsuit (“MLC Litigation”) in State Court, challenging the Mandate and the

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 Defendants’ refusal to consider reasonable accommodations pursuant to their

 statutory duties.

         78.     On September 14, 2021, the Supreme Court, New York County, issued

 a temporary restraining order (“TRO”) enjoining the City from enforcing the Mandate

 “solely because the Department of Health and Mental Hygiene Order’s mandate did

 not reference the possibility of any medical or religious exemption.” The New York

 City Mun. Labor Committee v. The City of New York, No. 158368/2021, 2021 WL

 4502854, at *2 (N.Y. Sup. Ct. Sep. 22, 2021).

         79.     The next day, on September 15, 2021, the DOE Mandate was rescinded

 and reissued, with an amendment clarifying that “[n]othing in this order shall be

 construed to prohibit any reasonable accommodation otherwise required by law.” 2

         80.     The New York State Supreme Court accordingly vacated the TRO,

 stating that it was “obviate[d]” by the Commissioner’s amendment allowing for

 religious and medical accommodation. Mun. Labor Committee, 2021 WL 4502854, at

 *3.

         81.     What was not before the Court was that the Defendants’ religious

 accommodation policies were clearly designed to try to evade the DOE’s responsibility

 to consider religious accommodation in good faith, despite the Mandate’s amendment.

 DOE Implements and Ratifies the “Stricken Standards”




 2
  The Mandate was also further amended later in September 2021, but not substantively for
 purposes of this Petition other than to push back the effective date as a result of further lawsuits.
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       82.    In a parallel proceeding, the United Federation of Teachers (“UFT”),

 Local 2, AFT, AFL-CIO (“UFT”) filed a Declaration of Impasse on September 1, 2021,

 contending, among other things, that the DOE’s failure to provide religious and

 medical accommodations was unlawful and that the DOE further failed to afford due

 process regarding job and benefits protection.

       83.    On September 10, 2021, an impact arbitration decision was rendered by

 Arbitrator Martin Scheinman requiring that the DOE and the City both had to

 provide UFT members with reasonable religious accommodation (Exhibit 1 –

 incorporated herein to show what the policy said, not for the truth of any statement

 therein).

       84.    Subsequently, Arbitrator Scheinman issued materially identical awards

 covering Counsel of School Supervisors and Administrators (“CSA”) employees and

 District Council (“DC37) DOE employees.

       85.    The policies are collectively referred to hereafter as the “Stricken

 Standards” since they were later struck down as unconstitutional by the Second

 Circuit Court of Appeals.

       86.    The arbitrator, Martin Scheinman served as a major donor and

 fundraiser for Mayor de Blasio and his neutrality is and was contested at the time

 that DOE adopted the Stricken Standards.

       87.    The Stricken Standards were clearly designed to deny most applicants

 by unconstitutionally narrowing the definition of what beliefs could qualify for

 religious accommodation.

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       88.    On their face, the Stricken Standards express denominational

 preferences and categorically exclude most religions from protection and access to

 accommodation.

       89.    For example, the Stricken Standards provide the following criteria for

 determining who could access accommodation: “religious exemptions for an employee

 to not adhere to the mandatory vaccination policy must be documented in writing by

 a religious official (e.g., clergy). Requests shall be denied where the objection is

 personal, political, or philosophical in nature. Exemption requests shall be considered

 for recognized and established religious organizations (e.g., Christian Scientists).”

 Stricken Standards at 9.

       90.    The language in the above quoted paragraph was almost entirely

 drafted and proposed by Defendants’ agents and attorneys – not just from the DOE,

 but also those representing the City.

       91.    Multiple problems stand out in this definition of what constitutes so-

 called acceptable religious beliefs.

       92.    First, the policy favors Christian Scientists, predefining Christian

 Science as the only enumerated example of a “recognized” and “established religious

 organization.” This gives Christian Scientists an unfair advantage.

       93.    Second, the policy requires the government to decide which other

 religions than Christian Science are “recognized” as “established religious

 organizations.”



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       94.    Pursuant to the Stricken Standards, if an applicant belongs to a religion

 that is not deemed “established” and “recognized” by the government employer,

 whatever that means, the person must be denied.

       95.    Defendants knew, or should have known, that the government cannot

 “establish” which religions are “recognized” and thus valid and which are not

 “recognized” or “established” and thus invalid.

       96.    Third, the policy also provides that religious objection based on

 personally held or “philosophical” religious beliefs must be denied.

       97.    But under the federal, state, and local standards, personally held or

 unorthodox religious beliefs are just as protected as those that are endorsed by official

 church dogma.

       98.    In fact, even moral or philosophical beliefs are defined by the EEOC and

 governing law as expressly protected religious beliefs, but under the Stricken

 Standards, they were excluded from protection even if the beliefs were sincerely held.

       99.    Fourth, the Stricken Standards require that the religious objection

 “must be documented in writing by a religious official (e.g. clergy).”

       100.   The certification requirement discriminates against those who practice

 religions that do not belong to a hierarchical organization or who have different

 religious beliefs than their pastor or church leader.

       101.   Defendants were on notice that the clergy requirement was illegal.

       102.   It is long-established law in New York that governments cannot require

 a person to show a clergy letter or belong to an “established religion” to have their

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 religious beliefs protected. See, e.g., Sherr v. Northport-E. Northport Union Free Sch.

 Dist., 672 F. Supp. 81, 92 (E.D.N.Y. 1987).

       103.   Fifth, the Stricken Standards require that, even if the DOE were to

 determine a person does belong to an “established” and “recognized” religion, and that

 religious organization provided a clergy letter, the applicant must still be denied if

 the “leader” of their faith has publicly expressed support for vaccination.

       104.   “Leader” is not defined in the Stricken Standards, but in practice, the

 DOE repeatedly interpreted this concept broadly to deny accommodation to whole

 categories of religious employees based on Defendants’ assumptions about who the

 leader of a faith might be.

       105.   Pursuant to these determinations, DOE representatives repeatedly

 asserted that all Jews, Muslims, Hindus, Buddhists, Catholics, and even non-

 denominational Christians other than Christian Scientists had to be denied.

       106.   In sum, the DOE openly admitted that it conditioned access to

 accommodation based on membership in preferred religious organizations.

       107.   To the extent that anyone was accommodated who belonged to one of the

 religions DOE categorically excluded, it was either because they were lucky enough

 to get an arbitrator who was willing to violate DOE’s policies, or because DOE was

 trying to avoid liability for their open discrimination after a lawsuit was filed by

 accepting a few token Jews, Buddhists, or Catholics.

       108.   Either   way,    the   stated    policies,   which    required   categorical

 discrimination, had a disparate impact on those with personally held religious beliefs,

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 and those belonging to one of the faiths that the DOE categorically argued must be

 excluded.

 DOE showed additional bad faith by initially denying 100% of applicants
 without review.

       109.   Notwithstanding that the Stricken Standards already were designed to

 categorically deny most applicants other than Christian Scientists, Defendants

 applied the Stricken Standards to exclude even more employees from protection than

 the discriminatory policy allowed.

       110.   As bad as the Stricken Standards were, the one thing that the policy did

 for employees was to guarantee that the DOE had to grant religious accommodation

 if an applicant qualified under its criteria.

       111.   There was no provision for a denial based on “undue hardship” under

 the Stricken Standards.

       112.   Rather, pursuant to the arbitrators’ order, at both the initial DOE

 review and in the appeals, any applicant who qualified “within the specific criteria

 identified above shall be permitted the opportunity to remain on payroll…”

       113.   The Stricken Standards stated that it applied to both to the DOE’s

 initial determinations and to the appeals to the arbitrator.

       114.   However, within hours or days of submitting their application, every

 single applicant who initially applied under the Stricken Standards, including

 Plaintiffs, received the same autogenerated email from DOE, stating:

       Dear [NAME],


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       We have reviewed your application and supporting documentation for a
       religious exemption from the DOE COVID-19 vaccine mandate. Your
       application has failed to meet the criteria for a religious based accommodation.

       Per the Order of the Commissioner of Health, unvaccinated employees cannot
       work in a Department of Education (DOE) building or other site with contact
       with DOE students, employees, or families without posing a direct threat to
       health and safety. We cannot offer another worksite as an accommodation as
       that would impose an undue hardship (i.e. more than a minimal burden) on
       the DOE and its operations.

       Sincerely, HR Connect Medical, Leaves, and Records Administration

       Please do not reply to this message via e-mail. This email address is
       automated.

       115.   The autogenerated denials admitted that they were made in accordance

 with the Stricken Standards, stating at the end:

       This application was reviewed in accordance with applicable law as
       well as the Arbitration Award in the matter of your union and the Board of
       Education regarding the vaccine mandate. Under the terms of the Arbitration
       Award, you may appeal this denial to an independent arbitrator. If you wish
       to appeal, you must do so within one school day of this notice by logging into
       SOLAS https://dhrnycaps.nycenet.edu/SOLAS and using the option "I would
       like to APPEAL". As part of the appeal, you may submit additional
       documentation and also provide a reason for the appeal.

       116.   In addition to violating the arbitrator’s award by issuing undue

 hardship denials to all applicants, when the policy did not allow for undue hardship

 denials, the autogenerated denials violated statutory standards in multiple ways.

       117.   First, the DOE did not engage in any good-faith individualized
              ----

 attempts to accommodate employees before issuing blanket “undue hardship”

 denials to 100% of applicants.

       118.   No one at the DOE individually reviewed any of the applications before


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 sending out the autogenerated emails denying accommodation.

       119.     Applicants, including Plaintiffs, were not contacted by any person at

 DOE to discuss their applications before they were denied.

       120.     No cooperative dialogue was offered or took place before the denials

 were issued.

       121.     The same or substantially the same email was sent to all applicants.

       122.     DOE did not review any objective data or analysis of what it would cost

 to accommodate religious employees remotely, nor did they assess any of the

 statutory factors to establish that any employee would have posed a direct threat if

 allowed to opt out of the vaccine requirement.

       123.     The DOE acted with such bad faith, that they even sent out the same

 undue hardship autogenerated email to employees whose job was already remote,

 and those who did not have student-facing jobs in the first place.

       124.     Failure to engage in individualized analysis, or cooperative dialogue,

 and categorical denial of every single employee, even employees who already worked

 remotely, based on the vague assertion that it would be an “undue hardship” to allow

 remote work– raise an inference of bad faith and pretext.

       125.     Second, the denials incorrectly state that the Mandate did not allow

 DOE employees to work in person around other employees or students.

       126.     It was not true that the Mandate did not allow DOE employees to work

 in person– on the contrary, the Mandate had been expressly amended to allow for

 religious accommodation, which would include in person accommodation if an

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 employee did not constitute a direct threat that could not be mitigated through

 reasonable accommodation.

       127.   The Stricken Standards and the DOE’s own policies show that DOE

 understood that the Mandate did not prohibit them from offering in person

 accommodation that would expose unvaccinated employees to other covered

 personnel.

       128.   Ultimately, the DOE admits it accommodated at least 163 DOE

 employees (including teachers, administrators and other staff) under the Stricken

 Standards, many of whom continued to work in person in buildings with other

 covered personnel.

       129.   Among the accommodated teachers, some taught remotely from home,

 while others were relocated to teach or work from one of the administrative buildings

 or remote worksites set up by the DOE.

       130.   These worksites had plenty of extra room and were not filled to

 capacity.

       131.   Some accommodated teachers were permitted to teach breakout

 sessions and various subjects and lessons remotely, while a co-teacher or teachers’

 aide was physically present in the classroom to coordinate the students in the class.

       132.   Others were given more administrative work or allowed to work with

 students who elected to stay home.

       133.   The DOE could have easily accommodated many more employees,

 including Plaintiffs, without significant hardship or expense.

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       134.    The Mandate also did not preclude in person teaching.

       135.    By its express terms, it had been amended to state that nothing in the

 order precluded reasonable accommodation, which would include in person

 instruction so long as an employee was not a direct threat based on their

 accommodation from the vaccine requirement.

       136.    DOE allowed at least one unvaccinated teacher to teach their class in

 person unvaccinated with students while the Mandate was in effect.

       137.    In doing so, DOE did not face any fines or penalty from the City, though

 the City was aware that the employee returned to the classroom unvaccinated while

 the Mandate was still in effect.

       138.    The fact that DOE accommodated at least 163 employees whose

 religious beliefs were impermissibly favored under the Stricken Standards leads to

 an inference that the remaining undue hardship denials were pretextual and

 unsupported since the denied employees were not distinguishable from a safety

 standpoint.

       139.    As evidenced by the 163 accommodations made, the Mandate provided

 no justification for a blanket ban on in-person accommodation without

 individualized analysis of the statutory factors for each employee.

       140.    By law, employers bear the burden of proving that an employee is a

 direct threat and of proving that no reasonable accommodation could be provided

 without undue hardship.

       141.    Neither the DOE nor the City met this burden, as set forth in more

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 detail in other parts of this complaint.

       142.   Third, the denials admitted - on their face - that Defendants applied

 the wrong legal standard for assessing whether accommodation would pose an

 undue hardship.

       143.   The denials stated that Defendants used the “more than a minimal

 burden” (de minimis) standard.

       144.   Under the SHRL and CHRL, the employer bears the burden of proving

 that accommodation would create a “significant” burden or expense, and under Title

 VII, the employer must prove substantial hardship, not de minimis hardship.

       145.   Pursuant to federal, state and local law, employers also must prove

 that they made the undue hardship determination after assessing specific statutory

 criteria, using the best available evidence, on a good-faith individualized basis before

 denying an applicant.

       146.   For example, under all three statutes, if the hardship has to do with a

 safety concern, the employer bears the burden of proving on an individualized basis

 that an employee would pose a direct threat before segregating them or imposing

 any adverse employment consequence on them.

       147.   The direct threat analysis cannot be speculative or generalized. Rather,

 under the CHRL, “The employer must make an individualized assessment, based on

 reasonable judgment that relies on current medical knowledge or the best available

 objective information, to ascertain: the nature, duration and severity of the risk; the

 probability that potential injury will actually occur; and whether reasonable

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 accommodation, such as modification of policies, practices or procedures, will

 mitigate the risk.” 9 CRR-NY 466.11(g)(2).

       148.   Similar analysis is required under the SHRL and Title VII.

       149.   Defendants did not make any good faith attempt to individually

 analyze these or the other required statutory factors for any applicant before

 conclusively denying them all based on alleged undue hardship.

       150.   The best-available objective science at the time did not support a

 blanket policy that in person accommodation was per se a direct threat.

       151.   The DOE did not prove or assess whether any employee was a direct

 threat due to their vaccination status before sending out the autogenerated blanket

 denials.

       152.   The DOE did not prove or assess whether it would be an undue

 hardship to provide reasonable accommodation for any employee deemed a direct

 threat before sending out the autogenerated blanket denials.

       153.   To illustrate the lack of care that the DOE put into the undue hardship

 determinations, some employees were already working remotely, or could have

 easily worked remotely, when they received the blanket undue hardship denials.

       154.   Many who received the undue hardship denials in the fall of 2021

 already had been granted accommodation to work remotely during earlier periods

 after in person learning had resumed and could have been granted the same

 accommodation again.

       155.   Plaintiffs could have been easily accommodated in person or remotely,

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 as they had been for the entirety of the pandemic, without undue hardship or safety

 concerns.

         156.   As set forth more fully in many other paragraphs in this Complaint,

 Plaintiffs did not pose a direct threat based on their vaccination status, and DOE

 failed to present any evidence that they did.

         157.   The vaccines could not stop transmission and were for personal benefit

 only.

         158.   Moreover, even if Covid-19 vaccines could meaningfully stop

 transmission, it is illogical to mandate vaccination for only a small fraction of the

 school population.

         159.   It makes no scientific sense to say that one million students could safely

 come to school unvaccinated, riding in busses with unvaccinated school-district

 employed bus drivers (who were exempt from the Mandate due to staffing concerns)

 and commingling with thousands of their unvaccinated peers, but that they would

 suddenly be in severe danger just because one or two teachers in the building were

 also unvaccinated.

         160.   If being in proximity with a few unvaccinated people was such a severe

 hazard, the rule should have applied universally to everyone in the population.

         161.   A few extra unvaccinated people in each building could not make any

 difference to herd immunity when the bulk of the population in that building are

 unvaccinated as well.

         162.   By the fall of 2021, it was already well-understood that the Covid-19

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 vaccines could not create herd immunity no matter what percentage of the

 population was vaccinated.

       163.   As one of many examples, a 2021 Harvard Study showed that there was

 “no discernable relationship between percentage of the population fully vaccinated

 and new Covid-19 cases.” Subramanian S. V. and Akhil Kumar. “Increases in Covid-

 19 are unrelated to levels of vaccination across 68 countries and 2947 counties in the

 United States.” European Journal of Epidemiology, 1-4. 30 Sep. 2021, doi:

 10.1007/s10654-021-00808-07.

       164.   Even in 2021, the great weight of the evidence showed that

 unvaccinated employees did not constitute a direct threat and could be easily

 accommodated.

       165.   Defendants were on notice of this fact.

       166.   Defendants were also on notice that the de minimis standard did not

 apply before they fired Plaintiffs and most other unvaccinated employees for failing

 to violate their religious beliefs by getting vaccinated.

       167.   Attached, and incorporated herein by reference as if fully set forth

 herein, are sworn declarations submitted in related litigation at various relevant

 points from public health experts at Johns Hopkins (Exhibit 2 – Dr. Makary), Yale

 (Exhibit 3 – Dr. Risch), and Stanford (Exhibit 4 – Dr. Bhattacharya).

       168.   In related litigation, a group of Plaintiffs presented the DOE with the

 sworn affidavits from public health experts Dr. Makary and Dr. Bhattacharya,

 which explained that there was no scientific basis for refusing to accommodate DOE

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 employees based on undue hardship.

       169.   Dr. Makary, who wrote the first declaration, was a professor of

 medicine and public health at Johns Hopkins and has since been appointed as

 Commissioner of the Food and Drug Administration.

       170.   Dr. Bhattacharya, who wrote the second one, was a professor of

 medicine and public health at Stanford and has since been appointed as

 Commissioner of the National Institutes of Health.

       171.   Both experts agreed that the unvaccinated did not pose a direct threat,

 and that multiple accommodations existed.

       172.   Discovery in other cases shows that the City and DOE relied on no

 scientific evidence or study to make their undue hardship determination.

       173.   For example, Defendants offered Eric Eichenholtz as an expert fact

 witness in a related case.

       174.   Attorney Eichenholtz was the City’s chief advisor on labor litigation,

 and upon information and belief, drafted or approved the unconstitutional criteria

 under the Stricken Standards.

       175.   Mr. Eichenholtz admitted under oath that neither DOE nor the City

 considered whether or not unvaccinated employees were a direct threat or assessed

 whether there was significant risk of substantial harm, what the specific risk was,

 whether it was current, speculative or remote, or base these determinations on any

 objective medical or factual evidence for any particular individual.

       176.   He further admitted that Defendants did not assess for any individual

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 whether accommodations could be made that lowered any risk below the stringent

 requirements of the direct threat level.

          177.   Under the governing statutes, employers bear the burden of proving all

 these factors, which they could not do even if they had tried.

          178.   The great weight of the objective science, even at the time the Mandate

 was imposed and shortly thereafter, showed the vaccine could not stop transmission

 and did not offer robust or durable protection from infection or symptoms.

          179.   The declarations submitted by Drs. Bhattacharya and Makary

 establish that DOE employees did not pose a direct threat and could have been

 accommodated in person.

          180.   Moreover, the vaccines were still at an experimental stage.

          181.   There was insufficient data available to determine what the risks and

 benefits were, or that a benefit overrode risks to particular people, especially those

 with underlying health conditions.

          182.   And, though Pfizer’s vaccine was being rushed through for FDA

 approval, Pfizer did not actually offer any of the FDA approved vaccines in New York

 State.

          183.   It was not possible to obtain an FDA approved Covid-19 vaccine in New

 York State at any time between August 2021 through September 2022.

          184.   The only available vaccines that Pfizer made available in New York

 State during this timeframe were those authorized under Emergency Use

 Authorization (“EUA”).

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        185.   EUA vaccines cannot be mandated, by the terms of their authorization.

        186.   Additionally, children had the lowest risk from Covid-19 of any

 population, and their risk of severe harm from the disease was so low as to be

 statistically insignificant.

        187.   Tellingly, every other school district in the state, including many

 neighboring school districts on Long Island, which had nearly identical populations

 of students and staff, allowed teachers to test weekly in lieu of vaccination

 throughout the pandemic.

        188.   These other school districts did not see any statistically significant

 increase in infection rates from the infection rates at the NYC DOE after the DOE’s

 Mandate went into effect.

        189.   Moreover, there were numerous additional measures that could have

 been taken, including but not limited to weekly testing, symptom checks, or other

 protective measures, each of which could have mitigated any perceived or actual

 increased risk of transmission from unvaccinated employees.

        190.   Remote accommodation would not have been a significant hardship

 either.

        191.   Plaintiffs had previously been accommodated remotely for short or long

 periods of time during the pandemic.

        192.   The Mandate was supposed to be a temporary emergency measure (and

 indeed, did have to be continued or renewed repeatedly throughout the year and a

 half it was imposed).

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       193.   The DOE had accommodated widespread remote work for the entire

 previous school year and summer session, and the DOE could have continued to

 allow those needing religious accommodation to work remotely.

       194.   Despite the DOE’s argument that they had moved most instruction

 back to in person in 2021, the DOE continued to provide a parallel remote program

 for many students throughout the 2021-2022 school year.

       195.   The DOE could have accommodated classroom teachers who needed to

 opt out by allowing them to teach in this remote program.

       196.   Indeed, the DOE continued to advertise vacancies for and hire remote

 teachers throughout the 2021-2022 school year, even as they claimed it would be an

 undue hardship to accommodate any unvaccinated DOE teacher with religious

 concerns remotely.

       197.   There were other ways that DOE employees could have been

 accommodated through remote work as well without significant hardship.

       198.   For example, before sending out the denials, DOE set up buildings

 specifically for remote work for those who would be accommodated under the

 Stricken Standards.

       199.   At all times relevant to this Complaint, those building stood largely

 empty and well below capacity.

       200.   Teachers and paraprofessionals could have worked with a co-teacher

 (which many already had in place) and pushed in through Google Classroom (from

 home or the remote worksites) to work with individuals or groups or modules

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 throughout the day.

       201.   There was also work that could be done that did not require in person

 presence that they could have been reassigned to temporarily until the “emergency”

 was over.

       202.   Upon information and belief, the summary blanket denials were issued

 to demoralize and harass religious employees, who got the message, loud and clear,

 that DOE was not acting in good faith.

       203.   Employees had poured their hearts out into their religious

 accommodation letters, which is a vulnerable thing to do.

       204.   They were given only a few days to commit their most sacred innermost

 thoughts to paper, and to gather a clergy letter if they could.

       205.   Receiving an autogenerated response, almost immediately, with a

 boilerplate denial from a “donotreply” email address felt like a mockery of their faith

 and showed many employees – both the recipients and their colleagues who were

 considering whether to apply or litigate - that further efforts were futile.

       206.   Tellingly, many who received the autogenerated undue hardship

 denials did not even work in student facing positions – or in person at all in some

 cases - in the Fall of 2021.

       207.   But these remote and administrative employees still received the same

 autogenerated email asserting they were denied because the Mandate did not allow

 employees to work unvaccinated around students.

       208.   DOE’s initial autogenerated denials stated, on their face, that they

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 were issued in accordance with the Stricken Standards.

       209.   But pursuant to the Stricken Standards, DOE was not authorized to

 deny any applicant based on undue hardship.

       210.   Rather, the Stricken Standards, which were supposed to apply (per the

 policy) to both the initial DOE review and the appeals to the arbitrators, had no

 mechanism for undue hardship denial.

       211.   According to the Stricken Standards, employees who met the defining

 criteria for qualifying religious beliefs “shall be” accommodated.

       212.   The DOE’s decision to violate even the one helpful aspect of the

 Stricken Standards by proactively denying 100% of the applicants through an

 autogenerated email pretextually asserting “undue hardship” shows animus animus

 and bad faith and leads to a reasonable inference that all subsequent religious

 accommodation decisions and policies implemented by DOE were pretextual.

 The DOE refused to allow many employees to appeal their denials

       213.   The DOE’s policies made it very difficult for employees to apply for

 religious accommodation and even harder to appeal their denials.

       214.   The Stricken Standards were not widely announced, and deadlines

 were not clearly explained to employees.

       215.   Many employees were never told when the “deadline” to apply for

 religious accommodation was, only that they had to get vaccinated before September

 27, 2021, and that this deadline was later moved to October 1, 2021, due to the

 Second Circuit’s temporary restraining order issued in September 2021.

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       216.   The deadlines were also irrelevant.

       217.   In truth, pursuant to all three accommodation statutes, an employer

 cannot impose an arbitrary cutoff deadline to apply for religious accommodation.

       218.   Rather, the statutes each specify that the employer has an affirmative

 obligation to accommodate an employee or prospective employee’s religious practices

 when the employer knows, or should know, that the employee needs accommodation,

 whenever that may occur.

       219.   Each one of the various arbitration awards provided a different

 “deadline” to get the expedited review available under the Stricken Standards.

       220.   Each was circulated, if at all, only a few days before these deadlines.

       221.   Plaintiffs and their similarly situated colleagues were in a state of

 emergency.

       222.   The start of a new school year is already a hectic time for educators.

       223.   This was particularly hectic, as many students were returning from a

 year and a half of remote instruction, and there was quite a bit to work out.

       224.   The DOE’s sudden and aggressive announcement had DOE employees

 scrambling, attempting to secure loans and contingency plans in case they were

 suddenly out of a job, raise money to file lawsuits to challenge the blatantly

 unconstitutional religious accommodation policy, run around town trying to gather

 medical records and clergy letters, write long heart-felt letters that could explain

 their innermost sacred beliefs to secular and hostile strangers.

       225.   They had to do all of this while meeting extensive job responsibilities

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 at the start of the school year, which was just a month in when the mandate went

 into effect.

        226.    To make matters worse, the SOLAS system, where the applications

 were supposed to be uploaded, froze repeatedly, especially during the deadlines to

 apply or appeal, leaving some unable to apply by the “due date.”

        227.    Those that were able to get their applications in before the “due dates”

 then had only 24 hours to appeal their initial DOE denials.

        228.    These denials were sent by email, and many employees did not see

 them within the twenty-four hours allotted.

        229.    Too often, the denials were issued on the Sabbath or a holy day, leaving

 those with religious practices that forbid Sabbath work with no time to appeal.

        230.    And, once again, many employees were unable to appeal, since the

 SOLAS system crashed during their brief window to appeal.

        231.    Many others felt it was futile to appeal, after receiving DOE’s insulting

 autogenerated generic denials in response to their good-faith and heartfelt

 accommodation requests and hearing from colleagues that everyone was getting the

 same denial, even those who already worked remotely.

        232.    Employees that submitted religious accommodation requests “late”

 were allowed to apply and were issued formal denials through a nearly identical

 autogenerated email as those who applied on time, but they were not allowed to

 appeal.

        233.    And, of course, those who were shut out of appealing due to problems

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 with the SOLAS website were also denied the right to appeal.

       234.   Those who did get to appeal did not fare much better.

       235.   Most were provided with no explanation whatsoever, just given a paper

 that had an “x” next to the word “Denied.”

       236.   The decision whether to grant a zoom hearing or not was arbitrary.

       237.   Employees who met the criteria in the Stricken Standards were denied

 the right to a hearing and denied with no further explanation than an “x” next to

 the word “denied.”

       238.   Some applicants were allowed a zoom hearing.

       239.   There was no apparent reason why some were granted, and others

 denied the right to have a hearing.

       240.   Arbitrators were given unfettered discretion whether to allow a

 hearing.

       241.   Neither DOE nor the arbitrators kept any records explaining the

 decisions and DOE admitted in other lawsuits and position statements to the EEOC

 that it cannot explain the reasons why some were granted a hearing, and others

 denied.

       242.   At the zoom hearings, the arbitrators and DOE representatives

 engaged in what can only be described as heresy inquisitions, in which they

 discriminated even more zealously than the already discriminatory policy required.

       243.   For example, DOE openly and repeatedly took the position that all

 Jews must be denied because of a Jerusalem Post article stating that a Rabbi in

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 Israel was vaccinated.

       244.      The Jerusalem Post article was provided to the DOE by the City with

 the instruction that it showed all Jews should be excluded.

       245.      DOE representatives repeatedly referenced this article in zoom

 hearings to assert that all Jews must be categorically denied accommodation.

       246.      Jewish applicants from related lawsuits repeatedly documented that

 though they explained that their own Rabbi did not share the Israeli Rabbi’s opinion,

 that Judaism is a diverse religion, and that a random Rabbi in Israel could not be

 deemed the “leader” of all Jews, they were still told that Jews could not qualify under

 the Stricken Standards because of the Jerusalem Post article.

       247.      Similarly, DOE also took the repeated position that all Catholics had

 to be denied, because Pope Francis is vaccinated.

       248.      There is substantial debate within the Catholic faith, like many other

 faiths, about whether it is religiously permissible to take a Covid-19 vaccine.

       249.      In fact, a whole council of Catholic Bishops set forth a document

 asserting that it is likely not permissible for Catholics to take any of the Covid-19

 vaccines due to the use of aborted fetal cell lines in production and development of

 the vaccines.

       250.      Moreover, while Pope Francis is vaccinated and expressed his public

 opinion that vaccination might be permissible despite the connection to abortion, he

 also instructed Catholics that they must each consult their religious conscience to

 make the choice for themselves.

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       251.   Nonetheless, DOE argued repeatedly in the zoom hearings that all

 Catholics should be denied because the Catholic Pope was vaccinated.

       252.   DOE maintained this position even if the applicant provided a letter

 from their own Priest or religious leader stating that they had a valid religious belief.

       253.   The instruction that the Pope’s vaccine status should lead to categorical

 exclusion of most Christians came from the City.

       254.   DOE representatives zealously furthered this discriminatory policy

 and repeatedly argued that all non-denominational Christians other than Christian

 Scientists should be denied due to the Pope’s beliefs.

       255.   Multiple    lawsuits    detain,    in   sworn    pleadings,    how    DOE

 representatives repeatedly argued that anyone who belonged to a non-

 denominational Christian faith must be denied, both because the Pope is vaccinated

 (even though non-denominational churches do not follow the Pope) and because the

 nondenominational churches are allegedly not “established and recognized”

 religious organizations according to the Defendants.

       256.   Even in cases where applicants submitted letters from their own

 religious leaders, explaining that the whole congregation opposed vaccination, DOE

 argued that the Pope’s beliefs controlled all Christians other than Christian

 Scientists, and the applicant had to be denied, even if sincere.

       257.   DOE went so far as to argue in at least one documented case to argue

 that a Buddhist applicant should be denied because his views were not shared by

 the Catholic Pope even though the DOE representative acknowledged that DOE

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 found his religious beliefs sincere.

       258.   DOE also often argued that all Buddhists had to be denied because the

 Dalai Lama was vaccinated.

       259.   The Dalai Lama is a spiritual leader of the Gelug (“Yellow Hat”) sect,

 which is one of at least four sects of Tibetan Buddhism.

       260.   There are many other sects of Buddhism - perhaps thousands of other

 sects, outside of Gelug Buddhism.

       261.   Moreover, according to spiritual texts, Buddha told his followers not to

 take any leader when he was dying, but rather, that each must rely on the dharma

 to examine the truth for themselves.

       262.   But DOE still repeatedly argued that all Buddhists should be

 categorically denied because the Dalai Lama was vaccinated.

       263.   Similarly, the DOE representatives routinely pulled out a letter

 purporting to be from a Seventh Day Adventist leader to assert that all Seventh Day

 Adventists must be denied.

       264.   This letter was provided to the DOE by the City, with instructions to

 deny all Seventh Day Adventists.

       265.   DOE also argued repeatedly that all Muslims must be denied due to

 the alleged discovery of an alleged “leader” of that diverse faith who was vaccinated.

       266.   Upon information and belief, the City instructed the DOE to

 categorically deny all of these faiths.

       267.   The DOE’s discriminatory statements and ignorant assumptions about

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 faith were common and well-documented throughout the accommodation process.

        268.   Arbitrators often joined in in the discriminatory positions and

 comments, accusing applicants of being wrong about what their faith required, or

 essentially, of being heretics for not allegedly following Pope Francis or the Dalai

 Lama or the Israeli Rabbi or whoever they decided to deem the leader of the faith.

        269.   DOE    representatives   encouraged    such   harassment     from   the

 arbitrators, joining in and doing nothing to remediate the comments when made.

        270.   DOE also categorically denied several types of belief within a religion,

 discriminating on religious reasons they did not understand or agree with.

        271.   Especially, DOE representatives argued that any religious objection

 based on concerns about the use of aborted fetal cell lines was presumptively invalid.

        272.   The City provided DOE with a letter from Health Commissioner David

 Chokshi, in which the Commissioner argued that concerns about aborted fetal cells

 did not merit religious protection.

        273.   Commissioner Chokshi also provided this letter to the arbitrators

 without sharing it with Plaintiffs or other impacted employees, urging them to deny

 religious protection to those with religious concerns about the use of aborted fetal

 cell lines.

        274.   It is well-documented that aborted fetal cell lines were used in the

 development of all three of the available Covid-19 vaccines.

        275.   Though he ultimately admitted that all the available vaccines used

 aborted fetal cell lines, at least in development, Commissioner Chokshi’s letter

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 argued that religious concerns about this fact were misguided and wrong. He went

 on to support his position about a religious dispute by stating: “An array of religious

 groups have stressed the importance of COVID-19 vaccination to save lives from

 COVID-19 and have called on all people to get vaccinated. As an example, the

 Catholic Church has issued a clear statement that Roman Catholics can in good faith

 receive COVID-19 vaccines that use fetal cell lines in development. Vaccination is

 the most important thing people can do to protect themselves and others from

 COVID-19.”

        276.   Commissioner Chokshi’s opinion that the use of aborted fetal cells does

 not merit religious protection is impermissible governmental entanglement in

 religious questions and constitutes discrimination.

        277.   The government is expressly prohibited from lending its power to one

 side in a religious dispute, and this is exactly what Commissioner Chokshi did in his

 letter to the arbitrators.

        278.   Arbitrators responded to this pressure, repeatedly mentioning it in

 zoom hearings, or grilling applicants and accusing them of heresy for failing to share

 the exact same beliefs as the Pope regarding aborted fetal cell lines.

        279.   Moreover, the DOE repeatedly used Commissioner Chokshi’s letter in

 zoom hearings, arguing that it proved that concerns about the use of aborted fetal

 cell lines did not merit religious protection.

        280.   After their zoom hearings, each applicant received a denial, with no

 explanation whatsoever, just an “x” next to the word “Denied.”

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       281.   Conversely, at least 163 other DOE employees were accommodated

 after the administrative appeals, some of them classroom teachers.

       282.   Upon information and belief, most of these employees were

 accommodated after a group of educators filed for an emergency injunction

 protecting them from the discriminatory religious accommodation policies on or

 about October 4, 2021.

       283.   Upon information and belief, DOE hoped that by accommodating some

 employees from various religious groups previously categorically denied, it could try

 to defend against their obvious and widespread discrimination.

       284.   But whatever the reason, DOE showed that it could accommodate

 employees by accommodating these 163 who were deemed to meet the

 unconstitutional criteria applied by DOE and the arbitrators.

       285.   Some of the accommodated classroom teachers were given alternative

 assignments.

       286.   Others were assigned to teach some of the online students who

 remained in the remote program.

       287.   And many were accommodated by allowing (or hiring) a co-teacher to

 stay in the classroom while the accommodated teacher taught via Google Classroom.

 The City aided, abetted and colluded in DOE’s discrimination.

       288.   The City is jointly liable for the DOE’s discriminatory religious

 accommodation policies and practices.

       289.   As a threshold matter, in 2002, the New York State Legislature granted

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 the City “Mayoral Control” over New York City’s public schools. At all times relevant

 to this Complaint, pursuant to this authority, as extended and amended over the

 years, the Mayor’s office exercised control over DOE and its operations.

       290.   At all times relevant to this Complaint, the Mayor’s office worked

 closely with DOE to oversee and direct the religious accommodation policies and

 their discriminatory implementation.

       291.   The City was also jointly responsible for carrying out the arbitration

 award, as reflected in the opening paragraphs of the opinion, which list the City as

 a party that was required to carry out the Stricken Standards. [Ex 1 at 6-7].

       292.   The City also actively participated in harassing and discriminating

 against DOE employees who sought religious accommodation from the Covid-19

 vaccine mandate, aiding and abetting violations of the statutory protections for

 religious accommodation.

       293.   The Mayor’s office and Mayor’s legal counsel initially directed DOE not

 to offer any religious or medical accommodation from the Mandate.

       294.   The Mayor’s office and/or Mayor’s legal counsel participated in drafting

 the proposed language for what criteria to use in judging a valid religious

 accommodation requests, which were later adopted in the Stricken Standards.

       295.   Upon information and belief, the criteria for religious exemption were

 composed entirely, or substantially, of language and procedures proposed by the

 City’s attorneys.

       296.   Attorney Eric Eichenholtz, who was, at all times relevant to this

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 Complaint, working under the direction and guidance of the City of New York, was

 one of the City’s attorneys who drafted the proposed criteria adopted in the Stricken

 Standards.

       297.   At the time, Mr. Eichenholtz directed the labor and employment

 litigation group.

       298.   As such, he was essentially in charge of the City’s legal defense to the

 discrimination charges.

       299.   After assisting Defendants with blatant, widespread religious

 discrimination, both in the original DOE policies and then during the pretextual

 Citywide Panel “reviews” (which he was in charge of), Mr. Eichenholtz was promoted

 to Managing Attorney for the New York City Law Department.

       300.   The City was also intimately involved in directing the DOE in the

 implementation of these policies and aiding and abetting the exclusion of as many

 applicants as possible from accommodation based on unconstitutional criteria.

       301.   In a press briefing held on September 23, 2021, the day before the DOE

 appeal hearings began, Mayor de Blasio was asked how the City intended to

 implement the religious exemption policies for DOE employees and what criteria the

 City would use. He responded:

       Mayor: Yeah, it's a great question. Thank you. Yes. And very powerfully
       Pope Francis has been abundantly clear that there's nothing in scripture
       that suggests people shouldn't get vaccinated. Obviously, so many people
       of all faiths have been getting vaccinated for years and decades. There
       are, I believe it's two well-established religions, Christian Science
       and Jehovah's Witnesses that have a history on this, of a religious
       opposition. But overwhelmingly the faiths all around the world have

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         been supportive of vaccination. So, we are saying very clearly, it's not
         something someone can make up individually. It has to be, you're
         a standing member of a faith that has a very, very specific
         longstanding objection. 3

         302.    This statement admits an intention to categorically discriminate

 against most religions and only grant religious accommodation to members of

 certain faiths that have “a very, very specific longstanding objection” according to

 the Mayor.

         303.    It is also an admission that the City was involved in and directing DOE

 to discriminate against most faiths in the appeals.

         304.    If the City had no involvement, the Mayor would have stated that the

 City was not involved, in response to questions about how the City was going to

 decide which teachers to accommodate.

         305.    Instead, he admitted that the City was involved, and that it planned to

 categorically discriminate against all faiths but Christian Science and Jehovah’s

 Witnesses.

         306.    Moreover, the Mayor would not have said “we are saying, very clearly”

 that a person has to be “a member of a faith that has a very, very specific

 longstanding objection” but rather would say the DOE was taking that position if

 the City was not involved.

         307.    “We” indicates the Mayor’s participation and collusion with this



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  Office of the Mayor, NYC. (2021, September 23). Transcript: Mayor de Blasio Holds Media
 Availability [Press release]. https://www.nyc.gov/office-of-the-mayor/news/644-21/transcriptmayor-
 de-blasio-holds-media-availability
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 discriminatory policy.

        308.     There is additional evidence that the City was intimately involved in

 and aided and abetted the DOE’s discriminatory policies.

        309.     The Mayor’s office and/or City’s legal counsel provided the letter from

 the Jerusalem Post to DOE and advised DOE to deny Jewish applicants based upon

 that article.

        310.     The Mayor’s office and/or City’s legal counsel also directed DOE to

 categorically exclude Buddhists, because of the Dalai Lama.

        311.     The Mayor’s office and/or City’s legal counsel also directed DOE to deny

 Muslims, because of a random City-defined “leader” of Muslims who the City

 believed was vaccinated.

        312.     The Mayor’s office and/or City’s legal counsel directed the DOE to deny

 Catholics, because Pope Francis was vaccinated.

        313.     The Mayor’s office and/or City’s legal counsel directed the DOE to deny

 Seventh Day Adventists, because of an alleged leader’s position statement which

 they provided to the DOE.

        314.     The Mayor also took an official City position on religious questions,

 announcing to the press that “Pope Francis has been abundantly clear that there’s

 nothing in scripture that suggests people shouldn’t get vaccinated" when explaining

 that the City would not allow people with personally held religious beliefs that

 differed from the leaders of their faith to get accommodation.

        315.     The City also provided a letter from Commissioner Chokshi to DOE

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 and the arbitrators and instructed them to use it to deny those with religious

 objections based on the use of aborted fetal cell lines.

         316.   The Mayor and/or City’s legal counsel also directed DOE to deny all

 personally held religious beliefs.

 DOE’s religious accommodation policies declared unconstitutional.

         317.   On or about September 21, 2021, a group of educators brought a

 proposed class action lawsuit against the City and DOE, titled Kane v. de Blasio et

 al, in the Southern District of New York arguing, among other things, that the

 DOE’s religious accommodation policies were unconstitutional.

         318.   This verified complaint, which was served on the Board of the DOE and

 the City, notified both Defendants that the Stricken Standards were discriminatory

 and violated the rights of --
                            all DOE employees seeking religious accommodation.

         319.   Both Defendants acknowledged receipt of the notice by entering the

 Kane v. de Blasio case.

         320.   The Complaint was timely served on the Department of Education and

 the City of New York.

         321.   Multiple other employees also served notices of claim, alerting the City

 and the DOE of classwide claims that needed to be adjusted, and fatal problems with

 their discriminatory religious accommodation policies.

         322.   Plaintiff Clarke also served an EEOC claim on Defendants in or around

 October 2021, which serves as functional notice of her claims against DOE and the

 City.

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       323.   Neither Defendant adjusted the class wide claims or Plaintiff Clarke’s

 individual claims within the statutory period.

       324.   In November 2021, the Second Circuit Court of Appeals held, first in a

 motion panel and then a merits panel, that the DOE’s religious accommodation

 policies were unconstitutional, and the plaintiffs were likely to succeed on the merits

 of their claim and deserved injunctive relief.

       325.   As the Second Circuit pointed out, the religious exemption criteria in

 the Stricken Standards are blatantly unlawful.

       326.   First, the Court held that DOE’s policies were not neutral, pointing out

 that it violates the most basic governing standards of state and federal law to

 discriminate against those with personally held religious beliefs, or deny

 accommodation based on someone else’s religious beliefs, even the leader of one’s

 own faith.

       327.   The Court particularly chastised the Defendants for denying Catholics

 and other Christians just because the Pope was vaccinated.

       328.   Second, the Court held that the policies were not generally applicable,

 as Defendants had discretion whether to grant accommodation.

       329.   The Court rejected Defendants’ attempts to pin the illegality on the

 arbitrators or to argue that Kane plaintiffs had to sue the union, not the DOE and

 the City.

       330.   Nothing in the arbitration award, or in the governing collective

 bargaining agreement waived employees’ rights to challenge the religious

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 discrimination inflicted by DOE or the City in Court.

       331.   Both Defendants knew or should have known that the Stricken

 Standards are blatantly unconstitutional, and that the Government cannot make or

 enforce unconstitutional policies, nor can it encourage, aid or abet discrimination.

       332.   Notwithstanding the obvious illegality of the Stricken Standards, the

 DOE adopted and enforced the policy to decide religious accommodation requests to

 the Mandate and the City participated in and was complicit in these discriminatory

 denials.

       333.   In Kane, in the proceedings before the Second Circuit, Defendants’

 attorneys admitted that the religious accommodation policies adopted by DOE were

 likely unconstitutional.

       334.   The City asked the Court to let them try to mitigate the harm by

 providing a “fresh review” by a newly created “Citywide Panel”, spearheaded by

 Defendants’ attorneys, particularly, Mr. Eichenholtz.

       335.   The City promised that any employee whose religious beliefs qualified

 under lawful standards would be reinstated with back pay.

       336.   The DOE agreed to this plan.

       337.   In November 2021, first a motion panel and then a merits panel of the

 Second Circuit Court of Appeals held that the Mandate, as applied through DOE’s

 religious accommodation policies, were likely unconstitutional and issued an order

 requiring the City to give fresh consideration through a new “Citywide Panel” and

 reinstate those who qualified with backpay.

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       338.   Though the Second Circuit’s order did not apply to non-named

 plaintiffs in the Kane lawsuit, the orders acknowledged that the Court’s decision to

 limit relief to named plaintiffs in the preliminary injunction order was impacted by

 the fact that the City promised to make the Citywide Panel review and

 reinstatement available more broadly on a voluntary basis.

       339.   However, the Citywide Panel did not review the vast majority of

 employees denied under the Stricken Standards.

       340.   According to later representations by Defendants counsel in related

 litigation, the Citywide Panel only reviewed about 500 of an estimated 5,000 to 7,000

 applicants denied religious accommodation from the DOE Mandate.

       341.   According to DOE, only employees who had been able to submit an

 appeal within 24 hours of their initial denial were reviewed by the Citywide Panel.

       342.   But those who were deprived of an appeal suffered from the

 discriminatory and pretextual policies too and had no recourse even after

 Defendants admitted that their original policies were unconstitutional.

       343.   Moreover, many applicants who did appeal under the original Stricken

 Standards, were never provided with a Citywide Panel as promised.

 The Citywide Panel denials were also pretextual and showed ongoing

 animus

       344.   By volunteering to handle the remedial process after the original DOE

 religious accommodation process was found unconstitutional, but then failing to

 mitigate the harm for Plaintiffs and those similarly situated, the City took on

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 responsibility for Plaintiffs’ harm.

        345.      The City’s decision not to review the majority of denials under the

 Stricken Standards is a constructive denial, that does not comply with statutory

 standards.

        346.      The Citywide Panel reviews did not comply with the statutory

 standards either and created further equal protection problems.

        347.      The reviews were not carried out in good faith.

        348.      Out of an estimated five hundred reviewed, only one applicant’s denial

 was reversed by the Citywide Panel.

        349.      This reversal was made subjudice and was only granted so Defendants

 could argue to the Court that the Citywide Panel was a valid remedial measure to

 the initial acknowledged discrimination.

        350.      In other words, it was pretextual.

        351.      The Citywide Panel did not engage in cooperative dialogue about

 possible accommodations with any applicant, despite the statutory requirements

 that it do so.

        352.      Between February 2022 and August 2022, the Citywide Panel sent out

 autogenerated emails from an email address called “noreply@salesforce.com” which

 stated that the denial was the final denial, and that employees had to get vaccinated

 within three days.

        353.      The reasoning was generic, typically stating in generic language that

 DOE had demonstrated that it would be an undue hardship given the need for safe

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 in-person learning and sometimes tacking on a statement indicating that the

 applicant had failed to establish that their religious beliefs preclude vaccination.

       354.     Most of the denied employees were then terminated a few weeks or

 months after receipt of the rejection from the Citywide Panel.

       355.     Hundreds of employees never received a decision at all, just a

 termination notice while their application for review by the Panel was still pending.

       356.     Many of these employees have never received a decision from the Panel

 to this day.

       357.     The Citywide Panel reviews were also infected by the same animus that

 plagued the initial denials of accommodation.

       358.     First,
                - - - - the Citywide Panel imposed a different undue hardship standard


 on those given fresh review than had been imposed on those accepted under the

 discriminatory policy.

       359.     Specifically, the Citywide Panel applied a complete blanket undue

 hardship ban on accommodation for all teachers and most administrators, even

 those with sincere religious beliefs, claiming that DOE “had demonstrated” it would

 be an undue hardship to accommodate anyone who worked in a building with

 children.

       360.     By contrast, under the Stricken Standards, if an employee’s religion

 met the discriminatory definition for determining they had a qualifying religious

 belief, they had to be accommodated without regard to undue hardship.

       361.     Under the discriminatory Stricken Standards policy, at least 163

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 employees were therefore accommodated, some of them classroom teachers.

       362.   The rest of the applicants were denied the same accommodation, not

 because they would somehow be harder to accommodate than the 163 who were

 granted accommodation under the discriminatory policy, but because DOE

 disfavored their religions and particular religious objections.

       363.   In sum, the Citywide Panel’s more rigorous blanket undue hardship

 bar for those who qualified under “lawful” standards versus those that qualified

 under the openly discriminatory standards, constituted a fresh incident of

 discrimination (since it was not applied to those who were impermissibly favored

 under the old policy).

       364.   Second, the Citywide Panel’s blanket undue hardship determinations

 violated statutory standards.

       365.   In related litigation, the City offered Mr. Eichenholtz, who created and

 was in charge of supervising the Citywide Panel, to be deposed for the purpose of

 addressing the Citywide Panel’s policies.

       366.   Mr. Eichenholtz was the “architect” of the Citywide Panel and oversaw

 it and had veto power over determinations.

       367.   He admitted in his sworn deposition that neither the City nor the DOE

 analyzed any of the statutory factors before denying applicants based on undue

 hardship.

       368.   He further admitted that neither the City nor the DOE ever assessed

 any objective evidence to determine that employees could not safely be

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 accommodated before issuing the undue hardship denials.

       369.   He further admitted that the Citywide Panel did not know or assess

 whether the vaccine could stop transmission of disease or whether unvaccinated

 employees were more dangerous than vaccinated ones.

       370.   Mr. Eichenholtz further admitted under penalty of perjury that DOE

 never provided information to the Citywide Panel “as to the number of employees it

 could afford to employ without causing undue hardship.”

       371.   He also swore that the “inability to pay employees” who were not able

 to work in person “has not come up” nor had DOE submitted any information about

 increased costs that could present an undue hardship if employees were

 accommodated.

       372.   Mr. Eichenholtz said the Citywide Panel did not ask the DOE to explain

 whether the remote worksites it set up were at capacity (they were not).

       373.   He also said that he was not aware of any direct threat analysis

 conducted for any employee.

       374.   Mr. Eichenholtz could not recall any panel member assessing whether

 Covid-19 vaccination could limit the spread of Covid-19.

       375.   He finally conceded that the Panel had imposed “no evidentiary

 requirement” from any agency on the undue hardship issue. When pressed, Mr.

 Eichenholtz stated that he did not think analysis of any statutory factors was

 necessary for an appellate body like the Citywide Panel, and he had made sure there

 was no requirement that the DOE or any other agency “provide that kind of data.”

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       376.   Bizarrely, Mr. Eichenholtz admitted that neither he nor the panel ever

 relied on any evidence or data to conclude that unvaccinated employees might pose

 a substantial risk of significant harm if allowed to work in person unvaccinated.

       377.   He confirmed that the Citywide Panel did not assess the duration of

 any risk or any of the other statutory factors on direct threat either.

       378.   From this testimony alone, it is patently clear that the Citywide Panel,

 like the DOE before it, failed to meet its burden of proof on undue hardship.

       379.   Moreover, the Panel’s blind reliance on DOE assertions of undue

 hardship, without any fresh review of the evidence, means that the DOE ultimately

 got to decide whether applicants would be accepted on fresh review.

       380.   The DOE had already been caught openly discriminating against these

 very employees.

       381.   Their blanket assertion of undue hardship on appeal, which was

 accepted by the Panel without evidence or review, leads to a reasonable inference

 that the discrimination continued, and the denials were pretextual.

       382.   This is especially true since DOE continued to accommodate the 163

 who were impermissibly favored under the old unconstitutional policy, without

 providing any non-discriminatory explanation as to why those 163 posed less of a

 danger.

       383.   Outrageously, throughout the winter of 2021-2022, when the Citywide

 Panel started making its undue hardship decisions, the DOE was sending actively

 infected and infectious vaccinated teachers with Covid-19 back into the classrooms.

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       384.   Meanwhile, thousands of uninfected teachers with natural immunity

 were kept on leave without pay and even terminated on the unsupported claim that

 it would be an “undue hardship” to allow them to be around the students

 unvaccinated.

       385.   Third, the Citywide Panel applied the wrong legal standard to

 determine undue hardship.

       386.   In his deposition and in many sworn pleadings, Mr. Eichenholtz

 repeatedly admitted under oath that the City and DOE both used the unlawful “de

 minimis” standard for undue hardship rather than the significant or substantial

 standard required by the three controlling statutes even though they had been

 repeatedly put on notice that the statutes required more.

       387.   Using the unlawful de minimis standard, the City and DOE made

 blanket unsupported assumptions that any accommodation would be “more than a

 minimal burden” and justified denial of all classroom teachers on that basis.

       388.   Citywide Panel members under Mr. Eichenholtz’ direction routinely

 went even further and continued to recommend that even applicants who already

 worked remotely should be denied based on unsupported “undue hardship”

 assumptions.

       389.   Mr. Eichenholtz did not reverse these undue hardship determinations

 even though he had the authority and responsibility to make the final decision in

 each case.

       390.   Fourth, the Citywide Panel failed to engage in cooperative dialogue

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 with any applicant about possible accommodations and challenges thereto before

 denying their applications.

       391.   This leads to an inference that the undue hardship determinations

 were pretextual and discriminatory, especially because some of those denied under

 these blanket bans already worked remotely or in buildings without students.

       392.   Fifth, nothing in the Mandate specified that DOE employees could not
              ----

 be given religious accommodation that would allow them to work in person.

       393.   On the contrary, the Mandate specified that nothing in it prevented

 reasonable accommodation as required by law.

       394.   Pursuant to statute, employers must grant religious accommodation

 unless they can show that there is a safety concern.

       395.   Defendants’ own decisions show that safety concerns were pretextual.

       396.   For example, shortly after all unvaccinated employees were excluded,

 thousands of fully vaccinated DOE employees were infected with Covid-19.

       397.   In or around January 2022, before the Citywide Panel undue hardship

 denials were issued and before most unvaccinated employees were terminated, DOE

 adopted an open policy of encouraging and cajoling actively infected teachers to come

 back to the classroom within five days of onset of infection due to staffing shortages.

       398.   It was well-understood at the time that Covid-19 was still

 transmissible five days after onset in most cases.

       399.   But, while DOE allowed actively infected teachers to teach children in

 person, they excluded Plaintiffs and their religiously opposed colleagues, who were

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 not infected and were willing to test and take other precautions to protect

 themselves and the students.

       400.   Moreover, DOE did not enforce the Mandate equally.

       401.   For example, DOE allowed thousands of employees to remain only

 partially vaccinated in violation of the Mandate.

       402.   DOE did this even though the Mandate required that employees get

 their second dose within 45 days and even though it was well-understood that one

 dose provided no protection against transmission or even personal progression of

 disease.

       403.   Yet, these teachers were allowed to keep teaching in person

 unvaccinated in violation of the Mandate.

       404.   The City was aware of this fact and did nothing to require compliance.

       405.   But the City and DOE were totally inflexible when it came to religious

 accommodation, refusing to even consider reasonable accommodation as required by

 the Mandate itself.

       406.   Sixth, the Citywide Panel failed to assess individual circumstances,

 claiming it would be an undue hardship to accommodate employees even when those

 employees already had remote non-student facing jobs.

       407.   Seventh, by the time the Citywide Panel began issuing undue hardship

 denials, the vast majority of its vaccinated workforce had gotten Covid-19.

       408.   When the undue hardship denials were issued, there was no good faith

 basis to assert that unvaccinated employees posed a direct threat due to their

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 religious practices.

       409.   The objective scientific consensus overwhelmingly showed that

 vaccination could not stop transmission of Covid-19.

       410.   By January 2022, it was beyond dispute that the vaccines were not

 stopping transmission.

       411.   After the DOE excluded unvaccinated workers, rates of Covid-19 cases

 amongst the fully vaccinated staff skyrocketed from about 30-50 cases at any given

 time, to over 5,000 a day and other astronomical numbers in January 2022 among

 the fully vaccinated staff.

       412.   Moreover, the City itself has admitted in other litigation that by the

 summer of 2022, any safety argument about accommodating unvaccinated

 employees had fully dissolved.

       413.   Yet, Defendants refused to accommodate Plaintiffs and other denied

 employees in August 2022 when they sent out the offer of reinstatement to fired

 DOE workers, even though they knew that Plaintiffs needed religious

 accommodation from the Mandate.

 The City continued to discriminate

       414.   The Citywide Panel also continued to apply discriminatory criteria to

 determine whether an applicant had, so called, qualifying religious beliefs.

       415.   First, the Citywide Panel continued to apply a blanket ban on anyone

 whose religious belief included objection to the connection between the vaccines and

 abortion.

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       416.   All three of the available Covid-19 vaccines at the time used aborted

 fetal cell lines in production or development of the product.

       417.   Emails exchanged between a Panelist and Mr. Eichenholtz provide

 evidence that Mr. Eichenholtz instructed the panel that such beliefs do not merit

 religious protection and should be rejected as invalid.

       418.   Mr. Eichenholtz’s own sworn testimony and statements show that he

 and the Citywide Panel improperly denied accommodation to applicants with

 religious objections to the use of aborted fetal cell lines, on the arrogant assumption

 that they are “wrong.”

       419.   When deposed, Mr. Eichenholtz admitted that he did not know whether

 aborted fetal cell lines were used in the development and production of the Covid-19

 vaccines and had not researched this issue.

       420.   But nevertheless, he continued to reject applicants with a concern

 about aborted fetal cell lines based on the assertion that they were “wrong.”

       421.   Mr. Eichenholtz has also filed numerous sworn pleadings in related

 cases which admit that the Citywide Panel regularly substituted judgment about

 whether abortion related concerns are “religious in nature” and deny sincere

 applicants who assert this religious concern based on the perception that they were

 wrong.

       422.   Multiple employees with this religious objection received a notation in

 the spreadsheet kept by the Citywide Panel indicating that their beliefs do not

 actually preclude vaccination.

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       423.    Mr. Eichenholtz and the City’s lawyers have admitted this notation

 signifies that the Citywide Panel rejected the belief based on the panel’s

 disagreement about the verity of the concern, not the sincerity.

       424.    The City has later explained that regardless of what the applicant

 sincerely believes, the City routinely substituted judgment to decide whether the

 applicant was wrong about their beliefs and whether the applicants’ religious beliefs

 truly prohibit vaccination even if the applicant believes that they do.

       425.    The Citywide Panel also continued to deny beliefs grounded in prayer

 or consultation with the moral conscience, on the mistaken theory that such beliefs

 are somehow personal and not “religious.”

       426.    Beliefs derived from prayer and conscience are religious in nature and

 are protected as such.

       427.    As one of many examples, it is a foundational catechism of Catholicism

 that the Holy Spirit, and ultimately God, speaks to us and reveals truth through the

 conscience.

       428.    Many Catholics believe they are required to consult their conscience

 and follow the guidance of the Holy Spirit when it is provided, regardless of what

 any other person may believe.

       429.    Many other religious people have similar beliefs.

       430.    But the Citywide Panel routinely decided that such beliefs are not

 religious because they allegedly allow a person to pick and choose what they believe

 they should do.

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        431.   This is ignorant, as many religious people would say that instructions

 from God or the Holy Spirit do not allow a person to pick and choose what they want

 to do, since religious people believe they are required to follow such guidance even

 over black letter law handed down by man.

        432.   But in any event, the rejection of these beliefs is also discriminatory.

        433.   In a nutshell, the Citywide Panel continued the same discrimination

 against unorthodox faiths that had been codified in the Stricken Standards, that is,

 requiring that a person’s religious objection come from dogma or instruction from

 church leaders, rather than from guidance from God or other personally held sources

 of religious belief.

        434.   The Citywide Panel also entangled itself to an unconstitutional degree

 with religious questions, denying applicants because their beliefs were allegedly not

 logical or articulated in a sufficiently coherent manner.

        435.   The Citywide Panel also denied employees if they’d taken other

 vaccines, even if the employee explained that they took the previous vaccine before

 they converted to their current beliefs system, or that their religious objection did

 not apply to that vaccine (for example, if the other vaccine did not use aborted fetal

 cell lines in production or development).

        436.   The      Citywide   Panel   also   refused   to   credit   applicants’   own

 interpretation of their faiths, instead adopting a policy that the City was tasked with

 the job of determining what their faith required of them.

        437.   These are just some of the discriminatory policies applied by the City

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 to uphold all but one of the original denials.

       438.   Ultimately, the fact that the Citywide Panel arrived at nearly the same

 result as the original admittedly discriminatory process leads to an inference that

 the City’s reasons were pretextual.

       439.   The goal of the Citywide Panel was to try to get out of liability for the

 acknowledged original discrimination by upholding nearly all the original

 discriminatory denials, rather than review them in good faith to remediate the

 discrimination, as promised.

       440.   The history of Defendants’ religious accommodation policies also

 supports the inference that the Citywide Panel’s denials were pretextual.

       441.   Before    the   Mandate     was     announced,   Defendants’    religious

 accommodation policy was to assume that an applicant had sincerely held religious

 beliefs and focus on whether a request would present an undue hardship.

       442.   In all other contexts, the DOE did not require extensive recitation of a

 person’s religious basis for a religious accommodation request, and routinely granted

 religious accommodation requests where a person did not specify the specific

 religious tenants that guided their need for accommodation.

       443.   Denials based on sincerity or adequacy of religious beliefs were rare

 before the Mandate, both at DOE and at other City agencies.

       444.   After the Mandate was implemented, Defendants changed the policy

 and attempted to circumvent accommodation requirements by issuing blanket

 undue hardship denials, without individualized analysis, categorically excluding

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 whole categories of religious belief as invalid, and aggressively denying beliefs as

 somehow “not religious in nature” or not valid or sincere without any good-faith

 basis to do so.

         445.   Even if there had been a legitimate interest in limiting the number of

 exemptions given, the government cannot lawfully winnow the number down by

 discriminating against certain faiths or beliefs it disfavors.

         446.   But this is precisely what the City and DOE did, both in the original

 denials and in the Citywide Panel appeals.

 Defendants extended the Mandates – and the unlawful Stricken Standards

         447.   Continued animus can also be evidenced through the City’s failure to

 rescind or repudiate the original Stricken Standards.

         448.   After imposing the DOE Mandate, the City issued hundreds of

 additional “emergency” executive orders, extending the vaccine mandates to nearly

 every employee in New York City.

         449.   Tellingly, even after the City’s own attorneys admitted in the Kane case

 that the Stricken Standards policy was likely unconstitutional (and the Second

 Circuit confirmed they were definitely unconstitutional), the City failed to repudiate

 them.

         450.   Instead, the City extended the use of the Stricken Standards to more

 agencies – striking deals and encouraging nearly every City agency to offer the

 Stricken Standards as one of two options for employees to apply for accommodation.

         451.   The City’s failure to repudiate the Stricken Standards is yet more

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 evidence of animus, which infects both the mandates and the religious

 accommodation determinations thereunder.

       452.    This issue was not before the Second Circuit in November 2021, when

 the Court of Appeals first considered whether the Mandate was itself neutral and

 generally applicable on interlocutory appeal.

       453.    Nonetheless, the Second Circuit still ruled that the religious

 accommodation policies were not neutral or generally applicable.

       454.    Perhaps the most telling sign of continued animus occurred in the

 context of unemployment insurance proceedings.

       455.    Months after the Second Circuit chastised Defendants for denying

 applicants because the Pope was vaccinated and made it very clear that such criteria

 were blatantly unconstitutional, the DOE continued to argue in appeal after appeal,

 that former employees denied religious accommodation must be denied benefits too,

 because the Pope was vaccinated and therefore their religious beliefs did not merit

 protection.

       456.    These same attorneys were also making determinations at the

 Citywide Panel level.

       457.    Their continued and widespread use of discriminatory standards that

 the City was already chastised for shows blatant continued animus.

 The Mandates were not generally applicable

       458.    As more executive orders were issued, it also became apparent that the

 Mayor exercised unfettered discretion to make carve-outs, exceptions, or new

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 requirements for secular reasons, or for any reason at all.

       459.   For example, Mayor Adams issued Emergency Executive Order 62

 (“EEO 62”) on March 24, 2022, making a carve-out for athletes, entertainers, and

 their make-up artists and entourages.

       460.   On its face, EEO 62 states that the exception was made due to economic

 reasons, and other reasons not related to stopping the spread of Covid-19.

       461.   Some of Mayor Adams’ top donors had lobbied for this carve-out.

       462.   Mayor Adams announced the controversial carveout at Citi field, the

 home of the New York Mets.

       463.   New York Mets owner Steve Cohen had donated at least 1.5 million

 dollars to a political action committee supporting Mayor Adams just months before.

       464.   Other top donors to the Mayor in the entertainment industry also

 benefited from the carve-outs.

       465.   Due to the carve outs, stars like Kyrie Irving and various entertainers

 and their make-up artists and entourages could return to work unvaccinated,

 working in person in enclosed spaces in close proximity to fans and colleagues, but

 the janitors and minimum wage workers at the fields or theaters, along with most

 other hard-working people in New York City, were being denied religious

 accommodation and losing their jobs if they could not take the vaccine.

       466.   Significant outcry accompanied the carve outs.

       467.   Harry Nespoli, chair of the Municipal Labor Committee (“MLC”) said

 “There can’t be one system for the elite and another for the elite and another for the

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 essential workers of our city.”

       468.   Not surprisingly, this favoritism also worried Jay Varma, a physician,

 epidemiologist, and senior advisor to Mayor Bill de Blasio for public health and

 COVID-19, who publicly expressed the concern that the new carve-outs would open

 the City to “legal action” on the basis that its remaining mandates were “arbitrary

 and capricious.”

       469.   The City was well-aware by March 2022 that there was no public

 health necessity for the Mandates.

       470.   The majority of its fully vaccinated staff had by that time caught Covid-

 19 despite the Mandate.

       471.   During the 2021-2022 school year, approximately sixty thousand fully

 vaccinated DOE employees caught Covid-19 after the mandate was imposed to

 exclude unvaccinated staff.

       472.   Many more had already had Covid-19 before the mandate was imposed.

       473.   But the City refused to drop the rest of the mandates or accommodate

 employees who could not be vaccinated due to their religious beliefs in good faith.

       474.   On August 11, 2022, after over a year of verbal acknowledgments that

 the vaccine could not stop transmission, the CDC officially revised its guidance to

 stress that it was not appropriate to differentiated between vaccinated and

 unvaccinated due to the overwhelming scientific consensus that Covid-19 vaccines

 cannot stop infection and transmission.

       475.   Instead of accommodating or reinstating employees who’d been denied

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 religious accommodation, DOE sent out a letter later that August 2022, making a

 fresh offer to DOE employees who’d been terminated or were on leave due to their

 vaccine status that they could come back and be reinstated to their old positions –

 but only if they got vaccinated by September 2022.

        476.   Many     employees,      including   Plaintiff,   asked   for   religious

 accommodation again, but they were all denied.

        477.   Some were able to submit applications through SOLAS, but they

 received the same vague “undue hardship” denial they’d received before or no

 response at all.

        478.   Others sent in email requests, or mailings asking that they be able to

 be reinstated as offered but accommodated so that they did not have to violate their

 religious beliefs.

        479.   They were ignored and denied reinstatement.

        480.   Defendants also knew, when it sent the letter to each of those

 employees who’d been previously denied religious accommodation, that the

 applicants required religious accommodation.

        481.   They were obligated, therefore, to offer them an accommodation unless

 they could prove undue hardship.

        482.   There was absolutely no good faith basis to even argue undue hardship

 at that point, leave aside prove it.

        483.   In September 2022, religious employees denied accommodation who

 were still on leave were all terminated for failing to violate their faith and get

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 vaccinated.

        484.   On September 20, 2022, Mayor Adams announced in a press conference

 that he would repeal the private sector vaccine mandates, and the mandate for

 students and parents participating in after-school activities but would keep in place

 the public sector mandates and the DOE mandate for employees.

        485.   When asked how he could justify keeping the public sector mandates,

 the Mayor admitted that there was no reason, stating: “I don’t think anything

 dealing with COVID is [sic] makes sense and there’s no logical pathway of one can

 do [sic].”

        486.   Without any logical explanation why, the City kept the DOE Mandate

 in place until February 2023, when the Kane plaintiffs were scheduled to argue their

 appeals over the unlawful DOE policies before the Second Circuit.

        487.   On the eve of those arguments, the City announced it would finally

 repeal the rest of the mandates, and argued to the Court that this should moot the

 lawsuits.

        488.   But despite the repeal, DOE refuses to hire back most of the fired

 unvaccinated workers to this day.

 Retaliation

        489.   Not only did Defendants fail to accommodate employees’ sincerely held

 religious beliefs, they also harassed and retaliated against employees with religious

 objections to the vaccine.

        490.   As a threshold matter, there was no basis to impose some of the

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 draconian requirements that DOE imposed on employees denied religious

 accommodation due to alleged “undue hardship.”

       491.    For example, employees were coerced to sign a waiver of their right to

 challenge the determination or face termination “for cause” and lose their good

 standing, paid time off credits (which belonged to them by law and contract) and

 health insurance while they waited on leave without pay.

       492.    These benefits belonged to Plaintiffs and their colleagues pursuant to

 the relevant contracts.

       493.    Moreover, finding employees guilty of misconduct for failing to violate

 their religious beliefs was retaliatory.

       494.    Yet, DOE repeatedly certified to the unemployment offices that

 employees terminated for failing to meet the vaccine requirement had committed

 misconduct.

       495.    Additionally, nothing in the Contract requires vaccination as a

 condition of employment.

       496.    Vaccination was not a condition of employment when Plaintiffs or other

 tenured teachers entered into their contracts with the DOE.

       497.    Pursuant to the contract, tenured teachers cannot face any of these

 consequences, including loss of salary, without a 3020a hearing, which was not

 provided.

       498.    Moreover, the Education Law prohibits imposition of a waiver for any

 DOE employee under such conditions.

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       499.   Defendants also could easily have at least allowed employees with

 sincere religious beliefs to work elsewhere while they were kept on leave without

 pay, or to return to their former positions once the mandate was lifted.

       500.   Instead, they imposed a condition that they could not work anywhere

 while on “leave without pay” from DOE.

       501.   DOE further retaliated by attaching problem codes to the employee

 files of those who were separated for failing to get vaccinated.

       502.   Upon information and belief, the problem codes are associated with

 employee’s finger-print records, which are shared with the Federal Bureau of

 Investigation.

       503.   These problem cosdes were also visible to vendors and potential

 employers outside of the DOE system.

       504.   The problem codes continue to this day to prevent many employees

 fired for failing to violate their religious beliefs from getting a job at DOE or

 elsewhere.

       505.   Even after the DOE repealed the vaccine mandate for DOE employees,

 DOE continues to use these problem codes and other methods to block those who

 were terminated for failing to get vaccinated in violation of their religious beliefs

 from coming back.

       506.   For those that are offered employment, DOE continues to impose an

 arbitrary waiver requirement on some, but not all employees as a condition of

 return.

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       507.   DOE told UFT that all employees would need to sign a waiver of their

 right to sue to come back, deterring many from trying.

       508.   In practice DOE imposes this waiver requirement selectively, forcing

 some to sign as a condition of return but neglecting to even mention it for others.

       509.   Second, DOE refuses to reinstate employees who were denied religious

 accommodation, instead requiring that these mostly tenured teachers and educators

 apply as new hires.

       510.   Third, DOE continues to use the problem code to thwart efforts for

 those denied religious accommodation to return to DOE, even as a new hire.

       511.   For example, there is a staffing crisis at DOE.

       512.   In related litigation, employees with spotless employment records have

 submitted sworn statements that they had interviews and were offered a job, but

 then their job offer was rescinded after problems with their “security clearance” were

 reported.

       513.   Some employees were told point blank that the security clearance issue

 is that they have a problem code attached to their file.

       514.   Some have seen the problem code.

       515.   These problem codes are typically imposed on employees who are not

 hirable due to heinous offenses, like child abuse.

       516.   DOE has long been aware of this issue, as it has been repeatedly

 brought up in EEOC complaints and related litigation but refuses to address it.

       517.   There is currently a Congressional Investigation into the problem code

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 issue, and members of the United States Congress have demanded answers from the

 City and DOE.

       518.   Neither Defendant has bothered to answer these inquiries even though

 they are required to do so.

       519.   There have also been hearings by the City Council, and many

 employees from DOE and the City have testified about the ongoing retaliation and

 discrimination they face.

       520.   Fourth, DOE has attempted to block all efforts at receiving

 unemployment compensation.

       521.   For example, when employees would apply, DOE would routinely object

 and state that they were fired for misconduct or were ineligible for a “good cause”

 determination because the Pope or others did not agree with the employee’s religious

 choice.

       522.   DOE routinely made these discriminatory arguments even after the

 Second Circuit chastised them for conditioning access to accommodation on the

 beliefs of a religious leader like the Pope.

                         PLAINTIFFS’ INDIVIDUAL FACTS

 Athena Clarke

       523.   Ms. Clarke reiterates all the facts of this complaint as if fully set forth

 in her individual section.

       524.   In September 2021, Ms. Clarke was a tenured special education teacher,

 commencing her seventh year of service at the DOE.

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       525.    Ms. Clarke is a devout Christian.

       526.    As part of her faith, Ms. Clarke routinely seeks guidance from prayer

 to make decisions, including medical decisions.

       527.    Ms. Clarke has long felt that vaccines are not in alignment with her

 religious beliefs, based on the guidance and her reflections.

       528.    One of Ms. Clarke’s core religious beliefs as a Christian is that

 participation in abortion is a sin.

       529.    Many vaccines use aborted fetal cell lines in development and

 production.

       530.    Ms. Clarke also generally believes that God created the body perfectly,

 and it is against God’s will to submit to medical interventions unless sick.

       531.    Due to her religious beliefs, Ms. Clarke has not vaccinated her children

 and has refused to take yearly flu shots or other adult vaccines like the Tdap booster

 her doctor recommended.

       532.    Ms. Clarke prayed about whether she should take the Covid-19 vaccine,

 and received clear guidance that she could not take the vaccine without violating

 her faith.

       533.    Ms. Clarke timely submitted a request for religious accommodation

 from the Covid-19 vaccine through the SOLAS portal.

       534.    She attached to her request a letter from her Bishop, who has been her

 religious leader since she was a teenager.

       535.    In her application, Ms. Clarke explained she has a sincerely held

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 religious objection to the COVID-19 vaccine and needed accommodation.

       536.   Ms. Clarke’s request offered several alternative options, such as, inter

 alia, handwashing, mask-wearing, and weekly testing.

       537.   On or about September 20, 2021, Ms. Clarke received the same

 autogenerated email sent to all other applicants, denying her request based on

 alleged “undue hardship” based on the de minimis standard.

       538.   No one from the City or the DOE individually reviewed Clarke’s

  application before denying her.

       539.   Defendants never questioned Ms. Clarke’s sincerity or requested

  further information about her religious beliefs before denying her.

       540.   Ms. Clarke received a second denial on or about September 28, 2021,

  again, without explanation or individualized analysis.

       541.   It was not an easy decision for Ms. Clarke to opt out of the Covid-19

 vaccine, because the stakes were so high given that her employer refused to

 accommodate her.

       542.   However, the guidance from prayer and reflection was too clear for her

 to waiver from her faith, despite the severe consequences.

       543.   On or about October 1, 2021, Ms. Clarke was involuntarily placed on

  leave without pay, and informed that because she had failed to comply with the

  Mandate, she could not report to work, receive compensation, use annual leave,

  CAR or sick time, enter a work site or work anywhere else to try to earn money.

       544.   In other words, Ms. Clarke, a tenured educator, was removed from her

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  position and placed on disciplinary leave without pay without the benefit of hearing,

  as required by New York State Education Law § 3020-a, and without a pathway to

  grieve the action.

        545.   In or about November 2021, the Second Circuit held that the DOE’s

  religious accommodation policies, as applied, were likely unconstitutional, and

  ordered the City and the DOE to re-evaluate applications for religious

  accommodation, reinstating those whose beliefs qualify under lawful standards.

        546.   After the Second Circuit issued this decision, in November or December

  of 2021, Ms. Clarke immediately wrote to the DOE, Dr. Chokshi, attorneys for the

  City and DOE, and several other high level decision makers at each to request that

  her application be re-reviewed under lawful standards.

        547.   This notice functionally complied with notice of claim requirements

  under the Education Law, and the DOE failed to adjust the claims within ninety

  days of receipt.

        548.   In her letter, Ms. Clarke explained that the original policy

  discriminated against her personally held religious beliefs, and she was entitled to

  receive a fair evaluation under lawful standards by the newly created Citywide

  Panel.

        549.   Despite their promise to the Second Circuit, and Ms. Clarke’s request

  for a fresh review, the Citywide Panel failed to review Ms. Clarke’s application.

        550.   They did not even offer her the courtesy of a response.

        551.   Instead, after waiting nearly a year on leave without pay while

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  awaiting the promised fresh review by the Citywide Panel, in August 2022, DOE

  terminated Ms. Clarke for failing to comply with the Mandate, with no response

  from the Citywide Panel.

        552.   Thus, Ms. Clarke was only ever reviewed under the unconstitutional

  policy.

        553.   Ms. Clarke’s sincere religious objections qualify for accommodation.

        554.   Moreover, as discussed more fully in other sections of this complaint,

  Ms. Clarke could have been accommodated in person or remotely without posing a

  direct threat or causing undue hardship.

        555.   Defendants bear the burden of proving undue hardship.

        556.   They cannot meet this burden as set forth more fully throughout this

  complaint and below.

        557.   Ms. Clarke worked for over a year in person during the height of the

  pandemic, without posing a threat to anyone.

        558.   During the entirety of the year, Ms. Clarke tested weekly for Covid-19.

        559.   Moreover, by the fall of 2021, Ms. Clarke (and most of her class, who

  had already been back at school in person for over a year) had already recovered

  from Covid-19 and had natural immunity.

        560.   The objective science in the fall of 2021 showed that natural immunity

  was far superior and longer lasting than vaccine immunity.

        561.   As stated above, by October 2021, when Ms. Clarke was first placed on

  leave without pay rather than accommodated, it was already objectively understood

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  that the vaccines could not stop transmission, and that nearly everyone, vaccinated

  or not, was going to catch Covid-19 at some point.

       562.     By August 2022, it was irrefutable that the vaccine could not stop the

  spread, and that the unvaccinated posed no greater danger to others than the

  vaccinated.

       563.     Moreover, to the extent that the unvaccinated posed any greater risk

  of transmission, Defendants bear the burden to prove that this risk could not have

  been mitigated in any other way than to forcibly suspend and then terminate Ms.

  Clarke. As set forth in greater detail in other paragraphs of the Complaint, DOE

  could not meet this burden.

       564.     In the fall of 2021, the DOE had already received affidavits from two of

  the top public health professors in the country articulating the many ways that

  employees could have been safely accommodated in person.

       565.     Ms. Clarke was ready, willing and able to continue testing and

  symptoms check as she had been doing, and as every other school district in the

  state allowed teachers to do.

       566.     She was also ready, willing and able to consider any other

  accommodation available.

       567.     DOE did not consider any science or evidence to conclude that no safe

  accommodation was possible before denying Ms. Clarke based on undue hardship.

       568.     Moreover, the Mandate itself acknowledged that it allowed for

  reasonable accommodation, which did not preclude in person accommodation.

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        569.   As discussed elsewhere in this complaint, many teachers were

  accommodated under the policy throughout the duration of the Mandate, at least

  one of them in person in a school building.

        570.   Nothing about Ms. Clarke made her any more dangerous to the school

  than the unvaccinated teachers allowed to work in person or at administrative

  offices.

        571.   Additionally, even if DOE could have proven that it was unsafe to allow

  Ms. Clarke to work in person in the classroom, DOE would still have to prove that

  it was a substantial and significant economic hardship to allow Ms. Clarke to work

  outside of the classroom. This they did not even attempt.

        572.   Defendants’ attorneys admitted under oath that neither the City nor

  DOE examined any economic evidence or factors to determine that Ms. Clarke could

  not be accommodated, while 163 others who had favored religious beliefs under the

  discriminatory policy could be.

        573.   Rather, according to Defendants’ own attorney testimony, Defendants

  used the wrong undue hardship standard to presume that any accommodation

  would presumably meet the erroneous “de minimis” burden standard since it would

  involve some kind of expense or hassle.

        574.   Other teachers who were accommodated after being impermissibly

  favored under the Stricken Standards were provided with long-term substitutes or

  other co-teachers so that they could teach through Google classroom or other remote

  platforms while the co-teacher or assistant was physically present to keep order in

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  the classroom.

       575.   Ms. Clarke could have done the same. In fact, she already had a co-

  teacher, so a long-term substitute might not even be necessary in her case.

       576.   Ms. Clarke could have also been reassigned to write IEP’s, teach

  students in the remote education program for home-bound students, or zoom into

  classrooms to teach particular break out groups.

       577.   In August 2022, shortly after they terminated her, DOE offered to

  reinstate any employees terminated because of noncompliance with the vaccine

  mandate so long as they were vaccinated by September 6, 2022.

       578.   Though     Defendants     knew    Ms.      Clarke    required    religious

 accommodation, they did not offer Ms. Clarke any accommodation.

       579.   Upon information and belief, DOE further retaliated by attaching a

 problem code to Ms. Clarke’s employment files which has not been removed to date.

       580.   In the fall of 2021, within the statutory deadline to file an EEOC

  complaint or a notice of claim, Ms. Clarke submitted an EEOC complaint, asserting

  that the City and the DOE had violated Title VII, along with the religious rights of

  its’ employees, and engaged in unlawful retaliation.

       581.   She stated that all DOE’s denials were unlawful, including hers, and

  that she had sincerely held religious beliefs that had to be accommodated.

       582.   This notice also complied with the functional notice of claim

  requirement governing state law claims.

       583.   The Defendants failed to adjust her claims within the statutory period.

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        584.     On December 30, 2024, Ms. Clarke received a right to sue letter from

 the EEOC.

        585.     Ms. Clarke’s lawsuit is now being filed within ninety days of receipt of

 the right to sue letter.

        586.     Ms. Clarke suffered severe financial, emotional, psychological and

 spiritual harm because of Defendants’ discriminatory actions and policies for which

 she deserves compensation under numerous causes of action.

 Jennifer Kline

        587.     Ms. Kline reiterates all other paragraphs of this complaint as if fully set

 forth herein.

        588.     Before she was callously denied religious accommodation and

 terminated, Ms. Kline had served DOE for nearly seventeen years.

        589.     Dual certified as a special education and general education teacher, Ms.

 Kline was teaching Special Education in 2021.

        590.     She was a beloved teacher and had been nominated for the Big Apple

 teacher of the year award. She also has many letters from parents thanking and

 praising her, and copies of letters requesting she be the students’ teacher during her

 time at DOE.

        591.     Ms. Kline is also an extremely devout Christian.

        592.     Ms. Kline began working with special education students based on her

 guidance from prayer.

        593.     She was so dedicated to her job that she intentionally decided not to

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 have children so that she could put her full attention and focus on helping the

 children in her classrooms.

        594.   During the 2020-2021 school year, Ms. Kline could have requested to

 work remotely, as many other teachers did.

        595.   But she did not take this course.

        596.   Instead, Ms. Kline worked in person throughout the entire school year

 of 2020-2021.

        597.   She was not vaccinated during this entire period.

        598.   In the fall of 2021, Ms. Kline returned to teach in person unvaccinated

 without issue.

        599.   Ms. Kline had natural immunity, which was known even at the time to

 be far superior and more long lasting than vaccine immunity.

        600.   Most of Ms. Kline’s students also had natural immunity by the fall of

 2021, having attended school in person the entirety of the previous year.

        601.   Ms. Kline could not take a Covid-19 vaccine because of her religious

 beliefs.

        602.   Like Ms. Clarke, Ms. Kline believes that God created our bodies and

 immune systems, and they should not be tampered with proactively.

        603.   She also believes in the sanctity of the blood as a religious vessel of God,

 and that it is a sin to inject unholy materials, especially products derived from or

 produced with the use of aborted fetal cell lines.

        604.   In September 2021, Ms. Kline promptly submitted a detailed request for

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 religious accommodation.

         605.   She did not have a clergy letter, as her religious beliefs were derived

 from guidance received through personal reflection and prayer.

         606.   Ms. Kline was denied through the same autogenerated email sent to all

 employees, even those who already worked remotely.

         607.   She timely appealed, and was denied without any explanation

 whatsoever, and no opportunity for a zoom hearing.

         608.   In or around November 2021, Ms. Kline learned about the Second

 Circuit’s decision in Kane and the City’s promise to provide a fresh review using

 lawful standards.

         609.   Ms. Kline heard that the SOLAS system was accepting new applications

 for a review by the Citywide Panel.

         610.   She submitted her religious accommodation request through the system

 but received no response.

         611.   In or around December 2021, Ms. Kline wrote to multiple high level

 agents of the DOE and the City, including but not limited to the legal department

 and the Chancellor of the DOE, and the Mayor and Commissioner of Health at the

 City.

         612.   In this letter, Ms. Kline explained that she required religious

 accommodation, and that she had been discriminated against and demanded that she

 get a fresh evaluation by the Citywide Panel, as the City had been ordered to provide

 to the Kane plaintiffs.

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          613.   Ms. Kline explained that she had personally held religious beliefs, that

 the original accommodation policy excluded such beliefs, and that this violated her

 constitutional and statutory rights. She further demanded that the Defendants

 remedy this harm by providing her with a Citywide Panel review using lawful

 standards.

          614.   The Citywide Panel never responded nor did the DOE.

          615.   Instead, on or about February 11, 2022, the DOE terminated Ms. Kline

 without providing her any response to her request for fresh review.

          616.   To date, Ms. Kline still has not received any answer from the Citywide

 Panel.

          617.   Ms. Kline was therefore only ever reviewed under the Stricken

 Standards, which even Defendants have admitted were unconstitutional.

          618.   Ms. Kline has sincerely held religious beliefs that conflict with receiving

 a Covid-19 vaccine.

          619.   Ms. Kline did not pose a direct threat to anyone, as further detailed

 throughout the complaint. As one of many examples, Ms. Kline worked in person

 unvaccinated for over a year in a classroom with her students without issue before

 the mandate was adopted.

          620.   Ms. Kline could have continued to safely teach in person, and was ready,

 willing and able to submit to regular testing, handwashing, symptom checks or any

 other reasonable accommodation deemed necessary.

          621.   Ms. Kline also could have taught remotely. She already had an

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 assistant, and she could have taught classes through Google classroom or another

 remote platform already in existence at the DOE while her assistant was present to

 handle any behavioral issues.

       622.   Ms. Kline could have also been assigned to remotely instruct homebound

 students, or those still engaging in remote learning, which was still an option at DOE,

 or she could have been reassigned to do administrative work or write IEP’s.

       623.   Defendants allowed 163 other employees who had been unlawfully

 privileged under the discriminatory policy to continue on payroll through all of these

 options.

       624.   Defendants failed to present any evidence that any of these options

 would have been an undue hardship to allow Ms. Kline the same opportunity.

       625.   Instead, Defendants failed to evaluate Ms. Kline’s request in good faith

 or provide a fresh review after they admitted to having used an unconstitutional

 policy to judge her initial application.

       626.   Not only did they terminate her but, upon information and belief, they

 then attached an insidious “problem code” to her files.

       627.   As further discussed above, these problem codes are impacting teachers’

 ability to get work in the greater New York City area and are the subject of a

 Congressional and Citywide investigation.

       628.   Ms. Kline has suffered enormously as a direct result of Defendants’

 discriminatory actions.

       629.   After she was terminated, she could not find comparable work anywhere

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 despite her qualifications.

       630.    Without any income or way to support herself, she had to liquidate a

 large portion of her retirement account just to survive, then lost her rent controlled

 apartment, and was forced to leave the state and start over, carrying substantial debt.

       631.    Ms. Kline suffered severe financial, emotional, psychological and

 spiritual harm because of Defendants’ discriminatory actions and policies for which

 she deserves compensation under numerous causes of action.

                               FIRST CAUSE OF ACTION

               (Failure to Accommodate in Violation of Title VII)

       632.    Plaintiffs incorporate all other paragraphs of this Complaint as if fully

 set forth herein.

       633.    As and for a First Cause of Action, Plaintiffs assert that both the City

 and DOE Defendants failed to accommodate their religious beliefs in violation of Title

 VII, and Defendants de Blasio and Chokshi aided and abetted this discrimination

 unlawfully.

       634.    Title VII imposes an affirmative obligation on employers to make

 reasonable accommodations for their employees’ (or potential employees’) religious

 beliefs and practices. 42 U.S.C §2000e(j); 20 C.F.R. §1605.2(b).

       635.    Plaintiffs were entitled to accommodation, but were denied religious

 accommodation, by the DOE and the City, in violation of Title VII.

       636.    After the City was forced by a temporary restraining order to amend the

 Mandate to allow for religious exemptions, and the DOE and the City were forced by

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 an arbitrator to provide religious accommodations, each responded by pretending to

 offer it, but instead colluding to deny as many applicants as possible, including

 Plaintiffs.

        637.   As supported by specific factual allegations and stated inferences in

 this complaint, the goal was never to actually assess reasonable religious objections

 in good faith. Rather, the most likely inference from the full facts and circumstances

 alleged throughout this complaint is that Defendants’ shared goal was to find a

 pretext to deny as many people as possible.

        638.   To that end, Defendants made arbitrary decisions to shut employees

 out of access to accommodation at every possible turn and ignored the substantial

 evidence that the system was crashing and many were shut out from appealing or

 applying.

        639.   First,
               - ---    all Defendants proposed and then adopted and enforced

 discriminatory criteria for choosing who to accommodate.

        640.   Upon information and belief, Attorney Eichenholtz, acting under the

 direction of Defendant de Blasio as well as high level administrators at the DOE

 approved and/or drafted the discriminatory criteria for who qualified for religious

 accommodation in the Stricken Standards.

        641.   Either way, the government cannot adopt or enforce a discriminatory

 policy like the Stricken Standards.

        642.   Among other discriminatory classifications, the Stricken Standards

 conditioned access to accommodation on membership in a preferred religious

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 organization.

       643.   The Stricken Standards also impermissibly required a clergy letter and

 that so-called religious “leaders” agreed with each employee’s religious beliefs

 concerning Covid-19 vaccination.

       644.   Under the Stricken Standards, personally held views were categorically

 excluded, and the City and DOE admitted that they intended to exclude all Catholics

 and most other religions than Christian Scientists relief.

       645.   The DOE then participated in the appeals to zealously argue for

 discriminatory reasons to deny applicants, for example, because the Pope did not

 share their views, resulting in the denial of over 90% of the appeals to the arbitrator.

       646.   The City aided and abetted and encouraged this discrimination,

 submitting an unlawful letter to the arbitrators from Defendant Commissioner

 Chokshi, which encouraged the arbitrators to deny everyone whose religious concern

 included opposition to abortion, impermissibly trying to use his authority to put his

 weight behind a doctrinal split in the church.

       647.   Second, though the arbitrator’s award required accommodation without

 regard to undue hardship (at least for those who qualified under the discriminatory

 criteria), DOE initially denied every single applicant on the pretextual claim of

 “undue hardship” based on the unlawful “more than a minimal burden” without ever

 assessing in good faith whether they could have accommodated any employee.

       648.   These determinations were pretextual, and not made in good faith, as

 evidenced by the fact that the same generic denials were even sent to those who

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 already had remote jobs.

       649.   These determinations were also infected with the same animus that

 infected the appeals and the entire religious accommodation policy adopted, enforced

 and implemented by the Defendants collectively.

       650.   Defendants did not individually review the applications before sending

 out the denials.

       651.   The same denial was sent out to employees who already worked

 remotely or easily could have done so, including Plaintiffs.

       652.   The denials stated on their face that the standard used was the “more

 than a minimal burden” or de minimis standard, which was found unlawful by the

 United States Supreme Court in Groff v. de Joy, 143 S. Ct. 2279 (2023).

       653.   The denials also stated on their face that they were issued in

 accordance with the Stricken Standards, which were found unconstitutional by the

 Second Circuit.

       654.   Neither the DOE nor the City considered the required statutory factors

 before denying relief based on undue hardship.

       655.   It would not have been an undue hardship to accommodate any of the

 applicants, including Plaintiffs, as addressed in great detail throughout the

 complaint.

       656.   The objective science at the time showed that plaintiffs did not pose a

 direct threat based on their vaccine status, and plaintiffs had each worked in person

 for the past year and a half unvaccinated without issue.

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       657.   Moreover, DOE accommodated at least 163 similarly situated

 employees, whose religious beliefs were impermissibly favored and could have

 similarly accommodated plaintiffs.

       658.   DOE did not provide any non-discriminatory reason for why Plaintiffs

 should not also be accommodated like their favored colleagues.

       659.   Third, Defendants knew that the SOLAS system, which was the

 method given to DOE employees to apply for accommodation, was crashing and

 glitching and shutting many people out of being able to apply by DOE’s arbitrary

 deadlines or appeal.

       660.   Yet, even when employees alerted supervisors and others responsible

 for ensuring reasonable accommodation at DOE that they needed religious

 accommodation and were unable to apply through SOLAS, DOE refused to

 individually consider their applications.

       661.   Those that did manage to submit their appeal were subjected to further

 arbitrary and unreasonable decisions.

       662.   No explanation was offered for why some got a zoom hearing, and

 others were denied.

       663.   Those that did get a review by an arbitrator were typically denied with

 no explanation, just an “x” next to the word “denied.”

       664.   DOE admits it has no record or reason for any determinations on

 appeal.

       665.   But the sworn submissions of dozens of DOE employees reveals that

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 DOE was aggressively attempting to persuade the arbitrators that they had to

 categorically deny most religions, and any beliefs based on personal prayer or

 abortion.

       666.   After Plaintiffs was denied religious accommodation, Plaintiffs and

 their similarly situated religious colleagues were placed on leave without pay for

 failing to violate their faith by taking a Covid-19 vaccine and eventually terminated,

 forced to resign, forced to go on extended unpaid leaves, and/or forced to violate their

 sincerely held religious beliefs.

       667.   Fourth, after the Second Circuit held that the DOE’s religious

 accommodation policies were not neutral or generally applicable, and were blatantly

 violative of the First Amendment, Defendants failed to remediate the harm as the

 City had promised the Second Circuit they would.

       668.   Instead, the City refused to consider thousands of employees denied

 religious accommodation under the original admittedly unconstitutional scheme,

 including Plaintiffs, even though they knew that these employees were seeking

 religious accommodation, and the DOE aided and abetted this refusal.

       669.   Fifth in August 2022, the DOE offered to reinstate those employees it

 had terminated or forced out after failing to accommodate them to their prior

 positions and level of seniority. But even though the CDC had just issued guidance

 affirming the long known scientific consensus that the vaccinated and unvaccinated

 posed the same level of risk of transmission, the DOE failed to provide

 accommodation to those it knew, or should have known, was seeking religious

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 accommodation, and denied every application on pretextual “undue hardship” again

 based on the de minimis standard.

       670.   DOE and the City were required to accommodate any employee or

 prospective employee, including Plaintiffs, who they knew or should have known

 required accommodation.

       671.   DOE knew Plaintiffs required accommodation and refused to

 accommodate them in August 2022 so that they could come back without violating

 her religious beliefs to the position offered by DOE.

       672.   To the extent that Defendants claim “undue hardship” as a defense,

 Plaintiffs reserve the right to rebut such allegations in more detail and with further

 evidence, as undue hardship is an affirmative defense and cannot give rise to

 dismissal for failure to state a claim.

       673.   Under Title VII, the burden is on the employer to demonstrate “that he

 is unable to reasonably accommodate an employee’s or prospective employee’s

 religious observance or practice without undue hardship on the conduct of the

 employers’ business.” 42 U.S.C. §2000e(j).

       674.   For a Title VII claim, undue hardship is shown “when a burden is

 substantial in the overall context of an employer’s business”. Groff v DeJoy, 143 S

 Ct 2279, 2294 (2023). “[A]n employer must show that the burden of granting an

 accommodation would result in substantial increased costs in relation to the conduct

 of its particular business.” Id. at 2295 (internal citations omitted).

       675.   To prevail on this defense, Defendants must show they considered all

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 options for accommodation in good faith and proved, prior to denial, that such

 options were untenable according to statutory factors and analysis of objective

 evidence assessed against each individual’s circumstances.

       676.   Defendants did not meet their undue hardship burden, and the denials

 on this basis were pretextual and unlawful.

       677.   EEOC guidance and Supreme Court precedent have clarified in recent

 years that denials based on the “de minimis” standard are unlawful.

       678.   Yet, all of Defendants’ undue hardship denials stated, on their face,

 that they were made based on the de minimis standard.

       679.   The denials also violate EEOC guidance from 2021.

       680.   Even in 2021, before the Mandate became effective, the EEOC provided

 guidance to employers on handling accommodations to Covid-19 vaccine mandates.

       681.   Among other relevant provisions, the guidance stated “Under Title VII,

 an employer should thoroughly consider all possible reasonable accommodations,

 including telework and reassignment. In many circumstances, it may be possible to

 accommodate those seeking reasonable accommodations for their religious beliefs,

 practices or observances.”

       682.   Defendants failed to consider all possible reasonable accommodations,

 or any possible individualized accommodations.

       683.   The 2021 EEOC Guidance also stated that “If the employer denies the

 employee’s proposed accommodation, the employer should explain to the employee

 why the preferred accommodation is not being granted. An employer should consider

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 all possible alternatives to determine whether exempting an employee from a

 vaccination requirement would impose an undue hardship.”

       684.   Defendants failed to explain any alternatives considered or to consider

 any alternatives to full exemption.

       685.   Instead, Defendants denied 100% of applicants based on vague

 assertions of “undue hardship”, even those, like Plaintiff, who had administrative

 jobs that could have been done remotely without issue.

       686.   Then they argued aggressively to deny any that appealed based on

 discriminatory and unlawful definitions of what constituted a valid religion.

       687.   Tellingly, after the appeals in the fall of 2021, the DOE did

 accommodate at least 163 employees, some of them teachers, who posed no different

 threat than Plaintiffs and the thousands denied.

       688.   DOE made this determination based on criteria having nothing to do

 with safety or economic differences, and only to do with impermissible criteria such

 as membership in a preferred religious organization.

       689.   As a direct and proximate result of Defendants' failure to accommodate

 them, Plaintiffs and their similarly situated colleagues denied religious

 accommodation suffered, and continue to suffer economic damages, severe mental

 anguish and emotional distress, depression, humiliation, embarrassment, stress and

 anxiety, loss of self-esteem and self-confidence, and emotional pain and suffering,

 including physical symptoms, for which they are entitled to an award of monetary

 damages in an amount to be determined at trial.

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       690.   Plaintiffs are also entitled to injunctive and other equitable relief,

 including reinstatement with no break in service, front pay and back pay in salary

 and all benefits and employment terms, including retirement credits, compensatory

 damages, including pain and suffering, nominal damages at an amount to be

 determined at trial, and attorney’s fees. 42 U.S.C. §§ 1981a(a)(1), 2000e-5(g)(1), (k).

       691.   Plaintiffs are also entitled to punitive damages in an amount to be

 determined at trial. Under Title VII, Plaintiffs can "recover punitive damages . . .

 [by] demonstrat[ing] that the respondent engaged in a discriminatory practice or

 discriminatory practices with malice or with reckless indifference to the federally

 protected rights of an aggrieved individual." 42 U.S.C. § 1981a(b)(1).

       692.   And Plaintiffs are entitled to reasonable attorneys’ fees and costs.

       693.   Pursuant to the single filing rule, Plaintiffs respectfully reserve the

 right to add more Plaintiffs and a proposed class of those similarly situated under the

 single filing rule to make this litigation more cost-effective for them to pursue.

 Plaintiffs also respectfully request that their claims be consolidated with the lawsuit

 in Hogan v. City of New York, 23-cv-8727, and specifically reference that claim as

 additional Title VII claims that they are eligible to “piggy back” off of.

       694.   Pursuant to the single filing rule, all members of the proposed class in

 this case and in Hogan are entitled to Title VII relief on the same basis without

 individually exhausting administrative remedies. See Tolliver v. Xerox Corp., 918

 F.2d 1052 (2d Cir. 1990).

       695.   The claims of the administrative claimants and the rest of the proposed

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 class and group all arise out of the same circumstances and within the same time

 frame. This is sufficient to allow the entire class to join in this claim pursuant to the

 single-filing rule. Id. at 1058.

        696.   Additionally, though they need not have in this action, the

 administrative claims and responses from Defendants provided notice that the issues

 were class wide.

        697.   Defendants and the EEOC were also on notice that the issues were class

 wide through the filing of hundreds of other claims from similarly situated DOE

 employees, and multiple related proposed class-action lawsuits referencing the

 widespread violation of Title VII and anticipated actions regarding same.

        698.   Plaintiffs assert the Single Filing Rule assertions for each of the Title

 VII claims made herein.

                             SECOND CAUSE OF ACTION

                      (Discrimination in Violation of Title VII)

        699.   Plaintiffs reincorporate all paragraphs of this Complaint as if fully

 written herein.

        700.   In addition to failure accommodate claims, Plaintiffs asserts straight

 religious discrimination claims against both Defendants – including but not limited

 to “pattern and practice”, “disparate impact” and “as applied.”

        701.   Title VII was enacted with the purpose of prohibiting employment

 discrimination based on religion, among other protected characteristics. 42 U.S.C §

 2000e et seq. 71.

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       702.     Under Title VII, it is an unlawful employment practice for an employer:

 (1) to fail or to refuse to hire or discharge any individual, or to otherwise discriminate

 against any individual with respect to his compensation, terms, conditions, or

 privileges of employment because of such individual’s race, color, religion, sex, or

 national origin; or (2) to limit, segregate, or classify his employees or applicants for

 employment in any way which would deprive or tend to deprive any individual of

 employment opportunities or otherwise adversely affect his status as an employee,

 because of such individual’s race, color, religion, sex, or national origin. 42 U.S.C

 §2000e-2(a).

       703.     Plaintiffs each have sincerely held religious beliefs that prevent them

 from taking the vaccines.

       704.     Plaintiffs were qualified to hold her position, as evidenced by the fact

 that they were DOE employees in good standing before they were denied religious

 accommodation.

       705.     The fact that accommodation was offered shows that it was not an

 employment qualification to be vaccinated, since employees could receive religious

 accommodation and still be qualified to work at the DOE even if they were not

 vaccinated, and at least 163 employees did receive such accommodation to continue

 to work for the DOE unvaccinated.

       706.     Moreover, related litigation has already held that the City lacked the

 authority to require vaccination as a condition of employment for DOE employees,

 and Defendants are precluded from relitigating that issue here.

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       707.    Plaintiffs suffered adverse employment conditions as a result of

 Defendants’    discrimination,     including,   inter   alia,   being   denied   religious

 accommodation, suspended without pay, terminated, charged with “misconduct”,

 denied unemployment compensation, having a Problem Code attached to her record,

 and facing irreparable damage to her reputation and employment prospects.

       708.    These adverse actions occurred under circumstances giving rise to an

 inference of discrimination.

       709.    In fact, the evidence in this case raises much more than just an

 inference of discrimination, which is the most that is required under notice pleading

 standards.

       710.    Defendants’ adoption, implementation, ratification and enforcement of

 a facially discriminatory religious accommodation policy, which conditioned access

 to accommodation on membership in a preferred religious organization, and

 excluded access to those with unorthodox religious beliefs, or an opposition to

 abortion, shows discrimination as a matter of law.

       711.    The Supreme Court has held that an employer’s adoption of a policy

 that makes express classifications based on a protected characteristic constitutes

 “direct evidence of discrimination,” which is sufficient as a matter of law to win relief

 absent an affirmative defense. Trans World Airlines, Inc. v. Thurston, 469 U.S. 111

 (1985).

       712.    In so holding, the Supreme Court explained that “the McDonnell

 Douglas test is inapplicable where the plaintiff presents direct evidence of

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 discrimination.” Id. at 121 (referencing McDonnell Douglas Corp. v. Green, 411 U.S.

 792 (1973)).

        713.    Use of such classifications demonstrates a discriminatory purpose as a

 matter of law, without regard to the decision-makers’ animus or subjective intent.

 See Miller v. Johnson, 515 U.S. 900, 904–05 (1995); see also Hassan v. City of New

 York, 804 F.3d. 277, 295 (3d Cir. 2015) (“Put another way, direct evidence of intent

 is ‘supplied by the policy itself.’”).

        714.    The Plaintiffs’ case here is even stronger than TWA, because unlike the

 age discrimination statutes, there is no affirmative defense to a policy that

 discriminates between orthodox and unorthodox religious beliefs, or preferences

 some faiths and religious beliefs over others.

        715.    The Stricken Standard policy made express classifications based on

 protected characteristics – to wit – membership in a disfavored religious group and

 defined all other religious beliefs as somehow not meriting the same protection as

 those the policy favored.

        716.    Contrary to the Stricken Standards’ unlawful criteria, the term

 “religion” includes all aspects of religious observance and practice, as well as belief.

 42 U.S.C §2000e(j).

        717.    Protected religious beliefs also include “moral or ethical beliefs as to

 what is right and wrong which are sincerely held with the strength of traditional

 religious views.” 29 C.F.R. 1605.1; 42 U.S.C §2000e(j).

        718.    It is well-settled law, acknowledged by the Supreme Court of the United

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 States all the way down to the district courts and administrative agencies as well as

 state court systems, that an individual seeking to demonstrate a sincerely held

 religious belief under New York State or federal statutory or constitutional standards

 need not prove that his belief is part of the recognized dogma of a religious sect. See,

 e.g., Widmar v. Vincent, 454 U.S. 263 (1981) (“The beliefs need not be consistent with

 the dogma of any organized religion, whether to not the plaintiffs belong to any

 recognized religious organization.”)

        719.   “The fact that the religious group to which the individual professes to

 belong may not accept such belief will not determine whether the belief is a religious

 belief of the employee.” 29 C.F.R. 1605.1.

        720.   An employee’s belief or practice can be “religious” under Title VII even

 if the employee is affiliated with a religious group that does not espouse or recognize

 that individual’s belief or practice, or if few – or no – other people adhere to it. Welsh

 v. U.S., 398 U.S. 333, 343 (finding that petitioner’s beliefs were religious in nature

 although the church to which he belonged did not teach those beliefs); Thomas v. Rev.

 Bd. Of Ind. Emp’t Sec. Div., 450 U.S. 707, 715 (1981) (disagreement among sect

 workers as to whether their religion made it sinful to work in an armaments factory

 irrelevant to whether belief was religious in nature because “[t]he guarantee of free

 exercise is not limited to beliefs which are shared by all of the members of a religious

 sect.”).

        721.   Employers, especially government employers, must not entangle

 themselves in religious questions when assessing a request for religious

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 accommodation.

       722.   Employers, especially government employers, cannot substitute

 judgment for the employee about whether the belief is religious in nature.

       723.   Nor can employers, especially government employers, deny an applicant

 because her religious beliefs overlap with similar secular concerns – religious

 employees are entitled to have both religious and secular concerns, and this does not

 diminish protection of the employee’s religious practices.

       724.   The Supreme Court of the United States cautions: “it must be

 remembered that, in resolving these exemption problems, one deals with the beliefs

 of different individuals who will articulate them in a multitude of ways. In such an

 intensely personal area, of course, the claim of the registrant that his belief is an

 essential part of a religious faith must be given great weight.” U.S. v. Seeger, 85 S.Ct.

 850, 863 (1965); See also EEOC v. United Health Programs of Am., Inc., 213 F. Supp.

 3d 377, 393 (E.D.N.Y. 2016) (“Delineating the meaning of ‘religion’ for purposes of

 Title VII often requires resort to First Amendment cases, where nontraditional

 religious practices are a frequent source of litigation.”).

       725.   It is impermissible “to question the centrality of particular beliefs or

 practices to a faith, or the validity of particular litigants' interpretations of those

 creeds.” Hernandez v. Comm’r, 490 U.S. 680, 699 (1989).

       726.   As set forth throughout this Complaint, Defendants each colluded

 violated each of these basic rules and more.

       727.   In addition to adopting a written policy that makes express

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 classifications and favors certain religions over others, hostile comments by high-

 level City actors’ and DOE agents about the invalidity of sincere religious objections

 grounded in concerns about abortion or personal prayer, or derived from religions

 other than Christian Science, constitute further direct evidence of discrimination.

        728.   As and for another count of direct evidence of discrimination, the City

 and DOE further discriminated against Plaintiffs by subjecting those who did not

 qualify under the Stricken Standards to a more onerous undue hardship standard

 than those who were favored under the unconstitutional criteria.

        729.   Under the Stricken Standards, those who met the discriminatory

 definition “shall be accommodated” and no provision was made for an undue

 hardship defense. Pursuant to that policy, at least 163 people were accommodated.

        730.   But when the Citywide Panel gave supposed “fresh consideration” to

 the applications of some of those denied under the original Stricken Standards, they

 applied a blanket undue hardship ban on accommodation for any teacher and most

 other employees – thus imposing a less generous standard.

        731.   By adopting a substantially different undue hardship standard for

 those who were deemed to meet the discriminatory criteria of the Stricken

 Standards, both DOE and the City showed direct discrimination against unorthodox

 religious beliefs.

        732.   Moreover, they continued to apply the same unconstitutional bar

 against accommodation of personally held religious beliefs and beliefs grounded in

 concerns about abortion.

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       733.   Under the direct evidence standard of review, it must be presumed that

 the adverse employment actions were pretextual and discriminatory, and, under

 this framework, Defendants cannot survive summary judgment without asserting

 an affirmative defense.

       734.   No such defense is available because it is black letter law that the

 government may not target religious minorities for disparate treatment, no matter

 how well-intentioned the subject regulation may be. Trump v. Hawaii, 138 S. Ct.

 2392, 2423 (2018).

       735.   In the alternative, even if this were not a direct evidence case, Plaintiffs

 also set forth a prima facie case under the McDonnell Douglas framework or any

 other framework that is permissible to apply.

       736.   Plaintiffs have pleaded facts that if true lead to an inference of

 discriminatory intent

       737.   As one of many examples, Plaintiffs assert that DOE representatives

 and the City’s representatives have repeatedly made public comments and official

 comments dismissing and showing animus towards religious opposition to

 vaccination (other than supposedly for Christian Scientists).

       738.   Plaintiffs also provided ample evidence that gives rise to an inference

 of further discrimination.

       739.   For example, even though they’d been ordered to make religious

 accommodations (by a court and by an arbitrator), Defendants denied 100% of all

 applicants immediately upon receipt of their application, leading to the unavoidable

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 conclusion that the denials were pretextual, and based on discrimination rather

 than a good faith undue hardship finding.

       740.    The DOE’s representatives then argued repeatedly that applicants

 should be denied for discriminatory reasons in the appeal hearings before an

 arbitrator provided under the Stricken Standards, claiming all Jews, Muslims,

 Catholics and Buddhists, should be presumptively disqualified based on their

 religion, among other discriminatory policies.

       741.    This leads to an inference that all aspects of the religious

 accommodation policies were infected by the same animus.

       742.    The evidence also leads to an inference that the Citywide Panel’s

 affirmance of all denials except one were infected by the same animus and were also

 pretextual.

       743.    This is compounded by hostile and dismissive comments made by the

 Mayor and Mr. Eichenholtz, who was placed in charge of the Citywide Panel process

 by the Mayor.

       744.    It is also shown by the email sent to Mr. Eichenholtz by a trainee on

 the panel, who confirmed that Mr. Eichenholtz had told her that beliefs related to a

 concern about abortion would not be accommodated.

       745.    It is also shown by the Citywide Panel’s notations received in related

 discovery, which show that the Citywide Panel continued to reject personally held

 beliefs, such as guidance from prayer, unlawfully substituting judgment to find that

 such beliefs, while sincere, are somehow “not religious in nature” or “do not preclude

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 the applicant from getting vaccinated.”

        746.   Defendants’ discrimination impacted all applicants for religious

 accommodation, many of whom were told, point blank told that they were being

 denied relief because their religious “leader” allegedly did not share their beliefs,

 among other discriminatory reasons.

        747.   Plaintiffs should also prevail under a disparate impact theory of

 discrimination.

        748.   Disparate impact discrimination is also barred by Title VII, and “occurs

 when an employer uses facially neutral policies or practices that a have a

 disproportionately adverse effect on protected groups.” Ricci v. DeStefano, 557 U.S.

 557, 577–78 (2009).

        749.   “Disparate-impact claims do not require a showing of discriminatory

 intent.” United States v. Brennan, 650 F.3d 65, 90 (2d Cir. 2011). Rather, “a plaintiff

 establishes a prima facie violation by showing that an employer uses ‘a particular

 employment practice that causes a disparate impact on the basis of race, color,

 religion, sex, or national origin.’” Ricci v. DeStefano, 557 U.S. 557, 578 (2009) (citing

 42 U.S.C. § 2000e–2(k)(1)(A)(i)).

        750.   An employer can rebut a prima facie case “by demonstrating that the

 practice is ‘job related for the position in question and consistent with business

 necessity.’” Id.

        751.   The plaintiff, in turn, can rebut that showing by “showing that the

 employer refuses to adopt an available alternative employment practice that has

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 less disparate impact and serves the employer's legitimate needs.” Id. (citing §§

 2000e–2(k)(1)(A)(ii) and (C)).

           752.   “The basis for a successful disparate impact claim involves a

 comparison between two groups—those affected and those unaffected by the facially

 neutral policy.” Tsombanidis v. W. Haven Fire Dep't, 352 F.3d 565, 575 (2d Cir.2003).

           753.   Most people can take a Covid-19 vaccine without violating their

 religious beliefs.

           754.   But a recognized minority of people cannot.

           755.   Those who cannot were disparately impacted by the Covid-19 vaccine

 policy, and the draconian religious accommodation policies that were imposed as a

 result.

           756.   The employers cannot show that imposing the Mandate was consistent

 with business necessity, as the vaccines do not stop transmission.

           757.   But even if they could, the DOE could have been far less punitive with

 those employees who were unable to take the vaccine.

           758.   DOE did not have to put a scarlet letter on people’s files, or strip them

 of tenure, or coerce them into signing waivers, or try to prevent them from getting

 work anywhere – at the DOE or elsewhere, or refuse to do 3020a hearings, which by

 law, they were required to provide to all tenured employees before making any

 change to conditions or benefits.

           759.   And the DOE could have come up with ways to accommodate

 employees, like weekly testing, which was sufficient at every other school district in

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 the state and could have worked at the DOE too.

        760.    And there is of course a disparate impact claim among religions, as

 some religions and types of religious beliefs were preferred over others during the

 religious accommodation process.

        761.    The Second Circuit already held that Defendants offered no non-

 discriminatory reason for categorically excluding certain religious beliefs from

 eligibility.

        762.    As a direct and proximate result of each Defendants' discrimination,

 Plaintiffs suffered harms, including but not limited to those set forth in the first

 cause of action.

        763.    Plaintiffs seek injunctive and declaratory relief, and damages,

 including nominal, actual, compensatory, and punitive damages, along with

 attorneys’ fees pursuant to this cause of action.

        764.    Plaintiffs also seek reasonable attorneys’ fees and costs.

                              THIRD CAUSE OF ACTION

                (Retaliation and Harassment in Violation of Title VII)

        765.    Plaintiffs incorporate all other paragraphs of this Complaint as if fully

 set forth herein.

        766.    Plaintiffs sought religious accommodation from the vaccine mandate,

 which is protected activity pursuant to statute.

        767.    Defendants were aware that Plaintiffs sought to protect their religious

 rights, as Plaintiffs applied for accommodation.

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        768.   Rather than accommodate Plaintiffs’ religious needs, Defendants

 denied accommodation, terminated them, and attached damaging problem codes to

 their employment files.

        769.   Defendants also denied Plaintiffs a 3020a hearing, even though it is

 illegal to take adverse action against a tenured employee or attach a finding of

 “misconduct” to their files without such hearing.

        770.   Defendants also have attached a coercive waiver that prevents those

 with religious objections from returning unless they waive their right to challenge

 the religious discrimination they faced.

        771.   As a direct and proximate result of each Defendants' discrimination

 and retaliation, Plaintiffs suffered harms, including but not limited to those set forth

 in the first cause of action.

        772.   Plaintiffs seeks injunctive and declaratory relief, and damages,

 including nominal, actual, compensatory, and punitive damages, along with

 attorneys’ fees pursuant to this cause of action.

        773.   Plaintiffs also seek reasonable attorneys’ fees and costs.

                            FOURTH CAUSE OF ACTION

                                  (Violation of SHRL)

        774.   Plaintiffs repeat and realleges all paragraphs of this Complaint as if

 fully set forth herein.

        775.   For the reasons set forth in the first three causes of action, supra,

 Plaintiffs asserts parallel claims under the SRHL against both defendants for failure

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 to accommodate, discrimination, harassment, retaliation and aiding and abetting

 discrimination in violation of the SHRL.

       776.   At all relevant times, the SHRL has been in full force and effect, and

 has applied to both Defendants’ conduct.

       777.   Defendants worked in concert to deprive Plaintiffs of reasonable

 accommodation.

       778.   The SHRL provides:

       It shall be an unlawful discriminatory practice for an employer, or an employee
       or agent thereof, to impose upon a person as a condition of obtaining or
       retaining employment, including opportunities for promotion, advancement or
       transfers, any terms or conditions that would require such person to violate or
       forego a sincerely held practice of his or her religion…unless, after engaging in
       a bona fide effort, the employer demonstrates that it is unable to reasonably
       accommodate the employee’s or prospective employee’s sincerely held religious
       observance or practice without undue hardship on the conduct of the
       employer’s business.

 N.Y. Executive Law § 296(10(a).

       779.   It is also a violation of the SHRL for any party to aid or abet another in

 the violation of rights guaranteed thereunder.

       780.   Undue hardship is defined under the SHRL as “an accommodation

 requiring significant expense or difficulty (including significant interference with the

 safe or efficient operation of the workplace…).” N.Y. Executive Law § 296(10(d)

       781.   If the undue hardship is alleged based on a safety concern, “the employer

 must make an individualized assessment, based on reasonable judgment that relies

 on current medical knowledge or the best available objective information to ascertain:

 the nature, duration and severity of the risk; the probability that the potential injury

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 will actually occur, and whether reasonable accommodations, such as modification of

 policies, practices or procedures, will mitigate the risk.” 9 CRR-NY 466.11.

        782.   At all relevant times, DOE was Plaintiffs’ employer, or potential

 employer, as defined by the SHRL.

        783.   The City was also the DOE’s agent, in remediating the original

 acknowledged harm from the Stricken Standards denial, and controlled the DOE,

 directing, aiding and abetting the discriminatory practices at every level of review as

 set forth more fully in all paragraphs of this complaint.

        784.   For the same reasons set forth above in the First Claim, both Defendants

 violated the SHRL by failing to accommodate Plaintiffs.

        785.   The same standards which define protected religious beliefs under

 federal standards govern state and local statutory accommodation requests, though

 the SHRL and CHRL are more generous and expressly include creed as a protected

 category of religious belief.

        786.   Similar standards govern the undue hardship determination, though

 there is a heightened burden on employers under the SHRL to show a significant

 burden and to assess specific factors using the most current objective evidence prior

 to denial of relief.

        787.   Failure to engage in cooperative dialogue about undue hardship also

 leads to a strong presumption of discrimination under the state statutory

 requirements.



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        788.   Defendants have not and cannot prove that accommodating Plaintiffs

 would have required significant expense or difficulty from DOE.

        789.   Defendants have not and cannot prove that accommodating Plaintiffs

 would have significantly interfered with the safe or efficient operation of the DOE’s

 workplaces.

        790.   Defendants have not and cannot prove that accommodating Plaintiffs

 would have required the DOE to violate a bona fide seniority system.

        791.   Defendants failed to engage in any interactive process with Plaintiffs

 regarding potential accommodations or the difficulties posed by any prior to denial.

        792.   Defendants violated the SHRL by denying Plaintiffs’ requests for

 reasonable accommodation without first engaging in an interactive process and

 assessing the statutory factors.

        793.   Instead of accommodating Plaintiffs’ religious beliefs, Defendants

 retaliated against Plaintiffs by suspending and terminating them if they failed to

 violate their religious beliefs.

        794.   For the same reasons set forth in the preceding claims, and herein,

 Defendants also are liable under the SHRL for discrimination, harassment and

 retaliation based on religion.

        795.   The SHRL adopts the same tests as Title VII for assessing

 discrimination, retaliation and harassment claims but is supposed to be even more

 liberally construed towards plaintiffs.



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          796.   Aiding and abetting discrimination is expressly also listed as a

 standalone violation of the SHRL even if the colluder is not the employer.

          797.   As set forth in great detail throughout the Complaint, the City and the

 Mayor aided and abetted the DOE’s discrimination and failure to accommodate

 Plaintiffs and their colleagues.

          798.   Defendant Chokshi furthered this aiding and issuing a letter to the

 arbitrators arguing that Plaintiffs with religious objections to abortion had invalid

 concerns and should be barred from accommodation.

          799.   As a government official, Defendant Chokshi cannot lend his power to

 give unfair advantage to one side in a religious dispute, such as he did here.

          800.   Mayor de Blasio similarly crossed the line by repeatedly asserting that

 the City would not allow DOE to accommodate those with personally held religious

 beliefs, or anyone who doesn’t belong to the Jehovah’s Witness or Christian Science

 faith.

          801.   As a direct and proximate result of each Defendants' discrimination,

 retaliation and harassment, Plaintiffs suffered harms, including but not limited to

 those set forth in the first cause of action.

          802.   Plaintiffs seek injunctive and declaratory relief, and damages,

 including nominal, actual, compensatory, and punitive damages, along with

 attorneys’ fees pursuant to this cause of action.

          803.   And Plaintiffs are entitled to reasonable attorneys’ fees and costs under

 the SHRL. Executive Law § 297(10).

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                             FIFTH CAUSE OF ACTION

                                 (Violation of CHRL)

        804.   For the reasons set forth in the first four causes of action, supra,

 Plaintiffs assert claims under the CHRL against all defendants for failure to

 accommodate, discrimination, harassment, retaliation and aiding and abetting

 discrimination in violation of the CHRL.

        805.   Plaintiffs repeat and realleges all paragraphs of this Complaint as if

 fully set forth herein.

        806.   At all relevant times, the CHRL has been in full force and effect and

 has applied to Defendants’ conduct.

       807.    Pursuant to the CHRL:

        It shall be an unlawful discriminatory practice for an employer or an employee
        or agent thereof to impose upon a person as a condition of obtaining or
        retaining employment any terms or conditions, compliance with which would
        require such person to violate, or forego, a practice of, such person’s creed or
        religion,…and the employer shall make reasonable accommodation to the
        religious needs of such person.

        N.Y.C. Admin Code § 8-107(3)(a).

        808.   Like the SHRL, the CHRL also provides a standalone violation if an

 entity is found to have encouraged, aided or abetted the violation of any rights

 provided therein.

        809.   As set forth in Claims 1-4, Defendants colluded to deny accommodation

 to Plaintiffs and their similarly situated class members.

        810.   As a result of each Defendants’ actions, Plaintiffs were suspended and


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 terminated.

       811.    Defendants’ collective and individual actions violated Plaintiffs’ rights

 and proximately caused her adverse employment consequences.

       812.    DOE and City Defendants also failed to engage in the required

 cooperative dialogue with Plaintiffs before denying their accommodation requests,

 which is a separate and independent act of discrimination under the CHRL.

       813.    The CHRL prohibits denial of accommodation until the employer

 engages in a cooperative dialogue.

       The determination that no reasonable accommodation would enable the
       person requesting an accommodation to satisfy the essential requisites of a
       job or enjoy the right or rights in question may only be made after the parties
       have engaged, or the covered entity has attempted to engage, in a cooperative
       dialogue.

       N.Y.C. Admin. Code § 8-107(28)(2).

       814.    Pursuant to statute, the cooperative dialogue must include analysis

 and discussion about any possible accommodation and the challenges they might

 face, so that the employee has a chance to engage with the process and offer

 suggestions too which can be considered in good faith before denial.

       815.    This amendment was made in response to a Court of Appeals holding

 that the failure to engage in cooperative dialogue, while very important and

 indicative of whether an employer acted in good faith, was not enough to result in a

 summary judgment determination absent more.

       816.    The legislative history of the CHRL amendment notes that the

 amendment was meant to cure this holding, and to make failure to engage in

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 cooperative dialogue an independent basis for finding summary judgment against

 the employer, even if undue hardship could have ultimately been proven.

       817.   Other important amendments are relevant too.

       818.   In 2005, the New York City Council amended the CHRL by passing the

 Local Civil Rights Restoration Act of 2005 (the “Restoration Act”), N.Y.C. Local L.

 No. 85.

       819.   “In amending the []CHRL, the City Council expressed the view that the

 []CHRL had been ‘construed too narrowly’ and therefore ‘underscore[d[ that he

 provisions of New York City’s Human Rights Law are to be construed independently

 from similar or identical provisions of New York state or federal statutes.’”

 Restoration Act § 1.

       820.   To bring about the change, the Act established two new rules of

 construction. First, it created a “one way ratchet” by which interpretations of state

 and federal civil rights statutes can serve only “’as a floor below which the City’s

 Human Rights law cannot fall.’” Restoration Act § 1. Second, it amended the CHRL

 to require that its provisions “be construed liberally for the accomplishment of the

 uniquely broad and remedial purposes thereof, regardless of whether federal or New

 York State civil and human rights laws, including those laws with provisions

 comparably-worded to provisions of this title[,] have been so construed.” Restoration

 Act § 7 (amending N.Y.C. Admin. Code § 8-130).

       821.   In 2011, New York City enacted the Workplace Religious Freedom Act,

 amending sections 8-102 and 8-107, to adopt a stiffer standard for assessing undue

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 hardship. The committee report noted that the City Council’s intention was “to

 provide greater protection to workers under the City Human Rights Law than the

 federal, and even the State, human rights provisions provide.” N.Y.C. Council,

 Report of Committee on Civil Rights on Proposed Int. No. 632, Aug. 16, 2011.

       822.   Under the CHRL, undue hardship is defined:

       “Reasonable accommodation” as used in this subdivision, shall mean such
       accommodation to an employee’s or prospective employee’s religious
       observance or practice as shall not cause undue hardship in the conduct of the
       employer’s business. The employer shall have the burden of proof to show
       such hardship. “Undue hardship” as used in this subdivision shall mean an
       accommodation requiring significant expense or difficulty (including a
       significant interference with the safe or efficient operation of the workplace
       or a violation of a bona fide seniority system.)

       N.Y.C. Admin. Code § 8-107(3)(b).

       823.   Plaintiffs were able to perform the essential duties of their jobs with

 reasonable accommodation.

       824.   Accommodating Plaintiffs would not require significant expense or

 difficulty from the Defendants, who bear the burden of proof and have not met that

 burden.

       825.   Accommodating Plaintiffs would not require the Defendants to violate

 a bona fide seniority system. Defendants bear the burden of proof on this defense

 and have not met that burden.

       826.   Accommodating Plaintiffs would not significantly interfere with the

 safe or efficient operation of Defendant’s workplace. Defendants bear the burden of

 proof on this defense and have not met that burden.


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       827.   Plaintiffs asserted sincere religious objections and there was no basis

 to question their sincerity.

       828.   Defendants did not question Plaintiffs’ sincerity.

       829.   Instead, they denied them based on undue hardship.

       830.   Defendants did not meet their burden of proving undue hardship.

       831.   Defendants did not establish that Plaintiffs posed a direct threat

 because of their vaccine status, nor can they do so, as set forth more fully above.

       832.   Plaintiffs also assert discrimination, harassment, and retaliation

 claims pursuant to CHRL, as more fully described in the SHRL and Title VII causes

 of action, which apply the same standards, though the CHRL is to be the most

 favorably construed towards plaintiffs.

       833.   As   a   direct   and   proximate   result   of   Defendants’   unlawful

 discriminatory practices, Plaintiffs suffered and continue to suffer substantial

 losses, for which they are entitled to an award of monetary damages which exceeds

 the jurisdiction limits of all lower courts, along with reinstatement, declaratory

 nominal, compensatory and other relief.

       834.   As a direct and proximate result of Defendants’ failure to accommodate

 Plaintiffs, Plaintiffs suffered, and continue to suffer, severe mental anguish and

 emotional distress, including but not limited to depression, humiliation,

 embarrassment, stress and anxiety, loss of self-esteem and self-confidence, and

 emotional pain and suffering for which they are entitled to an award of monetary

 damages in an amount to be determined at trial.

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       835.   As a direct and proximate result of Defendants’ failure to accommodate,

 Plaintiffs are also entitled to injunctive and declaratory relief, nominal and

 compensatory damages, pain and suffering and punitive damages.

       836.   As set forth above, Defendants’ conduct was willful and showed a

 reckless disregard for Plaintiffs’ rights, and the rights of all similarly situated

 colleagues. In denying accommodation, Defendants violated their own policies as

 well as well-established law, all while flouting multiple court orders.

       837.   Plaintiffs are also entitled to attorneys’ fees, expert fees, and other

 costs under the CHRL N.Y.C. Admin Code §8-502(g).

                             SIXTH CAUSE OF ACTION

         (Violation of the U.S. Constitution - Equal Protection Clause)

       838.   Plaintiffs reincorporate all paragraphs of this Complaint as if fully

 written herein.

       839.   Plaintiffs asserts that DOE’s adoption of a facially discriminatory

 religious accommodation policy, which conditioned access to accommodation on

 membership in a preferred religious organization, and excluded access to those with

 unorthodox religious beliefs, constitutes direct evidence of discrimination in

 violation of the Equal Protection Clause of the United States Constitution.

       840.   Defendants are judicially and collaterally estopped from arguing that

 the Stricken Standards policy is non-discriminatory.

       841.   As the Second Circuit already noted: “The City concedes that the

 Arbitration Award…’may’ have been ‘constitutionally suspect,’ [] and its defense of

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 that process is half-hearted at best. Indeed, it offers no real defense of the

 Accommodation Standards at all.” Kane v. de Blasio, 19 F.4th 152, 167 (2d Cir.

 2021). “We confirm the City’s ‘susp[icion]’ …” Id.

       842.   First, the Court held that the written policy is not neutral, because on

 its face, it singles out unorthodox beliefs and faiths for disparate and unequal

 treatment: “We conclude, first, that the procedures specified in the Arbitration

 Award and applied to Plaintiffs are not neutral. The Supreme Court has explained

 that ‘the government, if it is to respect the Constitution’s guarantee of free exercise,

 cannot impose regulations that are hostile to religious beliefs of affected citizens and

 cannot act in a manner that passes judgment upon or presupposes the illegitimacy

 of religious beliefs and practices.’ Masterpiece Cakeshop, Ltd. v. Colo. Civil Rights

 Comm’n, ---U.S.---, 138 S. Ct. 1719, 1731 (2018).” Id. at 168.

       843.   Moreover, hostile comments by high-level City actors’ and DOE agents

 about the invalidity of sincere religious objections grounded in concerns about

 abortion or personal prayer, or derived from religions other than Christian Science,

 constitute additional direct evidence of discrimination.

       844.   Next, the Court also acknowledged additional direct evidence of

 discrimination in the application of DOE’s facially unlawful standards, for example,

 through DOE’s pattern of recharacterizing people’s beliefs as personal rather than

 religious. “Denying an individual a religious accommodation based on someone else’s

 publicly expressed religious views – even the leader of her faith – runs afoul of the

 Supreme Court’s teaching that [i]t is not within the judicial ken to question the

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 centrality of particular beliefs or practices of faith, or the validity of particular

 litigants’ interpretation of those creeds.” Id. at 168-169 (emphasis in original).

       845.   Because Defendants adopted written and de facto policies with express

 classifications based on which religion a person belonged to, and because of the other

 Direct Evidence of discrimination set forth above, Plaintiffs’ denials of

 accommodation must be presumed to be pretextual and discriminatory under this

 framework, and Defendants cannot survive summary judgment since there is no

 affirmative defense.

       846.   As set forth more fully in the complaint, Defendants’ religious animus

 infected every level of review and every policy choice Defendants applied to religious

 accommodation decisions or consequences impacting Plaintiffs’ case.

       847.   As a direct and proximate result of Defendants' discrimination,

 Plaintiffs suffered, and continue to suffer damages and harm.

       848.   Plaintiffs are entitled to injunctive and other equitable relief, including

 reinstatement with no break in service, front pay and back pay in salary and all

 benefits and employment terms, including retirement credits, compensatory

 damages, including pain and suffering, nominal damages at an amount to be

 determined at trial, and attorney’s fees. 42 U.S.C. §§ 1981a(a)(1), 2000e-5(g)(1), (k).

       849.   Plaintiffs also seek declaratory relief along with nominal damages. Id.

                           SEVENTH CAUSE OF ACTION

     (Infringement of Free Exercise Clause – United States Constitution)



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        850.   Plaintiffs repeat and realleges all paragraphs of this Complaint as if

 fully set forth herein.

        851.   The Free Exercise Clause of the First Amendment to the United States

 Constitution prohibits the government from burdening the free exercise of religion.

        852.   The First Amendment provides, in pertinent part, that “Congress shall

 make no law respecting an establishment of religion or prohibiting the free exercise

 thereof…” U.S. Const. amend. I.

        853.   The Supreme Court has held that “a law burdening religious practice

 that is not neutral or not of general application must undergo the most rigorous of

 scrutiny.” Church of Lukumi Babalu Aye, Inc. v. Hialeah, 508 U.S. 520, 546 (1993).

        854.   Where there is evidence of animus, or where there is a mechanism for

 exemption or lack of general neutrality requirements, an infringement must be

 strictly scrutinized, and the Defendants bear the burden of showing that they applied

 a law or policy using the least restrictive means available to further a compelling

 state interest.

        855.   Plaintiffs’ sincerely held religious beliefs prohibit them from taking a

 Covid-19 vaccine.

        856.   Defendants’   denials    of   accommodation     substantially    burdened

 Plaintiffs’ free exercise of religion, in that they were forced to violate their faith if

 they wanted to keep her job and avoid serious consequences.




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        857.   Defendants’ refusal to accommodate Plaintiffs’ religious practices

 created coercive pressure on them to change or violate their sincerely held religious

 beliefs.

        858.   The Mandate, which Defendants used to justify the denial of

 accommodation, was not neutral nor was it generally applicable.

        859.   The Mandate is not generally applicable, because the Mayor and other

 members of the Executive Branch are empowered to make exceptions to the

 Mandates in their sole discretion.

        860.   Since the DOE Mandate was issued, the Mayor has issued over a

 hundred executive orders, extending and expanding coverage of the City’s vaccine

 mandates to various different groups, and then making carve-outs and exceptions

 according to secular reasons that undermine the Government’s stated reason the

 same way that a religious carve out would.

        861.   The Mandates is also not generally applicable because it makes

 exceptions for secular reasons that defeat the purpose of the Mandate in the same

 manner.

        862.   For example, the DOE Mandate allows bus drivers to remain

 unvaccinated, even though they are in enclosed busses with unvaccinated children,

 and it allows students to remain unvaccinated and attending class in person, though

 they are just as able to spread Covid-19 to their peers as teachers, but it requires

 teachers to be vaccinated.



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       863.   The Mandate is also not generally applicable, because, on its face, it

 allows employers to exercise a mechanism for individualized exception – to wit,

 medical or religious accommodation.

       864.   Pursuant to state and municipal law, discretionary mechanisms for

 exemption existed whereby each of the Defendants was not only allowed but required

 to consider whether to grant religious or medical accommodation when an employee

 applies.

       865.   These exemption reviews are defined to be individualized processes,

 which are, like the “good cause” standard, open to interpretation and not a ministerial

 act, like determining whether a person has a doctor’s note. Thereby, discretion is

 routinely applied in deciding whether to accept or deny an application for

 accommodation.

       866.   The DOE also adopted a policy for religious accommodations, thereby

 defeating any argument that the Mandates were general applicable without a

 mechanism for accommodation, as applied, and the City also added an express

 provision, coupled by a promise to a state court, that religious accommodation and

 exemption would be allowed.

       867.   The religious accommodation policies implemented and enforced by the

 DOE and the City were also themselves government policies that burdened religion,

 and they were not neutral nor generally applicable either.

       868.   As recognized by the Second Circuit, DOE’s adoption of a discriminatory

 written policy defeats neutrality.

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       869.   Comments by decision-makers also defeat neutrality.

       870.   Because the policies were not neutral, strict scrutiny applies.

       871.   The Second Circuit also already held that the Defendants’ religious

 accommodation policies were not generally applicable, because decision-makers

 exercised discretion about whether to grant or deny accommodation, thereby

 evidencing a mechanism for individualized exemption.

       872.   Because the policies were not generally applicable, strict scrutiny

 applies.

       873.   Defendants, who are each state actors, did not have a compelling

 interest in requiring Plaintiffs to be vaccinated.

       874.   The vaccine cannot stop transmission, and there is therefore outside of

 the state’s police powers.

       875.   To the extent that the Defendants could prove that any significant

 danger existed because of Plaintiffs’ vaccine status, reasonable accommodations such

 as weekly testing, daily symptom checks, mask use or allowing remote or off-site

 meetings could have been implemented without undue hardship.

       876.   In refusing to accommodate Plaintiffs’ sincerely held religious beliefs,

 Defendants did not use the least restrictive means of furthering any compelling state

 interest.

       877.   More importantly, as the Second Circuit pointed out, Defendants did not

 have a compelling interest in any event in conditioning access to accommodation on

 membership in a favored religious organization.

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        878.   Nor do Defendants have a compelling interest in applying a more

 favorable undue hardship analysis to those found to meet the criteria for the

 impermissibly favored religions.

        879.   Defendants’ actions injured and continue to injure Plaintiffs, by chilling

 their right to practice their religion and imposing lasting consequences and harm to

 their emotional, psychological, physical, and financial wellbeing, as well as their

 reputation.

        880.   As a direct result of the violation of her First Amendment rights,

 Plaintiffs are still unlawfully removed from their jobs.

        881.   Plaintiffs seek, and are entitled to, declaratory relief and nominal

 damages stating that the denial of their religious accommodation and subsequent

 employment consequences are void ab initio and violated their First Amendment

 right to freely practice their religion.

        882.   Plaintiffs are entitled to, and seek, reinstatement with no break in

 service, and full compensation for front and back pay of salary, benefits, retirement

 credits and all employment benefits, including anticipated raises, as if they had never

 been denied religious accommodation, along with compensatory damages, including

 pain and suffering and emotional damages, along with punitive damages and

 attorney’s fees. Tanzin v. Tanvir, 141 S. Ct. 486 (2020).

                             EIGHTH CAUSE OF ACTION

   (Violation of the Establishment Clause of the United States Constitution)



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       883.    Plaintiffs repeat and reallege all paragraphs of this Complaint as if fully

 set forth herein.

       884.    The Establishment Clause of the First Amendment to the United States

 Constitution prohibits the State from preferencing any particular religion or religious

 dogma or belief, or abridging Plaintiffs’ rights to free exercise of religion.

       885.    Defendants each violated the Establishment Clause by expressing a

 preference for certain faiths and leaders over others and by expressing animus

 towards religious objection to vaccination.

       886.    The City and Defendant Chokshi went so far as to submit letters to the

 arbitrators, in which they impermissibly took a position on religious matters.

       887.    As one of many examples, the Commissioner of Health, David Chokshi,

 sent an email and letter to the SAMS arbitrators, letting them know that the City did

 not consider abortion to be a valid religious concern, and stressing that the Pope was

 vaccinated.

       888.    The DOE took this so far as to adopt a facially discriminatory policy,

 which favors Christian Scientists on its face, and requires discrimination against

 minority and unorthodox faiths.

       889.    The various preferences expressed by the state actors for some religions

 and religious leaders or religious beliefs over others trigger strict scrutiny of

 Defendants’ denial of Plaintiffs’ religious beliefs as a violation of the Establishment

 Clause.



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        890.   Defendants cannot meet the burden of proof to show that their denial of

 accommodation was narrowly tailored to further a compelling state interest.

        891.   Plaintiffs seek and are entitled to declaratory relief and nominal

 damages, injunctive relief including reinstatement with no break in service, back and

 front pay and benefits, actual, compensatory and punitive damages, along with

 attorneys’ fees, costs and expenses.

                             NINTH CAUSE OF ACTION

       (Substantive Due Process Violation – United States Constitution)

        892.   Plaintiffs repeats and realleges each paragraph in the Complaint as if

 fully set forth herein.

        893.   The Mandate violates Plaintiffs’ fundamental substantive due process

 rights facially and as applied.

        894.   Plaintiffs have a fundamental right to refuse medicine.

        895.   In addition to the fundamental right to refuse even life-saving medicine,

 the Supreme Court has articulated multiple fundamental rights safeguarding the

 doctor-patient relationship, and the right to make medical decisions in accordance

 with one’s chosen physician absent state interference.

        896.   There is also a fundamental right to protect oneself against harm.

        897.   This right rises to the level of a jus cogens right where, as here, the

 medical product mandated is still experimental.

        898.   At the time that the Mandate was enforced, the only vaccines available

 against Covid-19 in the United States were those allowed under experimental use

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 authorization (“EUA”), which, by the terms of the EUA, could not be mandated or

 coerced.

       899.   A different Pfizer product had been licensed just before the Mandate was

 imposed, but Pfizer did not make it available in the United States at any time before

 Plaintiffs were denied accommodation and placed on unpaid leave.

       900.   At the time of the Mandate, and continuing today, there were

 inadequate studies available to determine the risks and benefits of the vaccine for

 any individual, leave aside those with serious health conditions that put them at

 greater risk of harm.

       901.   Defendants had no compelling or even legitimate reason to mandate the

 vaccines or to deny religious or medical accommodation.

       902.   The vaccines cannot stop transmission of disease, and it is therefore not

 within the police powers of the state to mandate them.

       WHEREFORE, for all causes of action pleaded above, Plaintiffs prays that

 this Court grant judgment to her containing the following relief:

       A.     A declaratory judgment that the Defendants’ failure to accommodate

 Plaintiffs’ sincerely held religious beliefs and all actions arising therefrom are void

 ab initio and constitute unlawful discriminatory practices pursuant to Title VII along

 with nominal damages and attorneys’ fees and costs; and

       B.     A declaratory judgment that the Defendants’ failure to accommodate

 Plaintiffs’ sincerely held religious beliefs and all actions arising therefrom are void

 ab initio and constitute unlawful discriminatory practices pursuant to the New York

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 City Human Rights Law along with nominal damages and attorneys’ fees and costs;

 and

       C.     A declaratory judgment that the Defendants’ failure to accommodate

 Plaintiffs’ sincerely held religious beliefs and all actions arising therefrom are void

 ab initio and constitute unlawful discriminatory practices pursuant to the New York

 State Human Rights Law along with nominal damages and attorneys’ fees and costs;

 and

       D.     A declaratory judgment that the Defendants’ failure to accommodate

 Plaintiffs’ sincerely held religious beliefs and all actions arising therefrom are void

 ab initio and constitute unlawful discriminatory practices pursuant to the Equal

 Protection Clause of the United States Constitution along with nominal damages and

 attorneys’ fees and costs; and

       E.     A declaratory judgment that the Defendants’ failure to accommodate

 Plaintiffs’ sincerely held religious beliefs and all actions arising therefrom are void

 ab initio and violate the Free Exercise Clause of the First Amendment of the United

 States Constitution along with nominal damages and attorneys’ fees and costs; and

       F.     A declaratory judgment that the Defendants’ failure to accommodate

 Plaintiffs’ sincerely held religious beliefs and all actions arising therefrom are void

 ab initio and violate the Establishment Clause of the First Amendment of the United

 States Constitution along with nominal damages and attorneys’ fees and costs; and




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        G.     A   declaratory    judgment   that   the   Mandate,     as   applied,    is

 unconstitutional because it violates Plaintiffs’ fundamental rights, along with

 nominal damages and attorneys’ fees and costs; and

        H.     An order that Defendants reinstate Plaintiffs to their former positions

 with full seniority, no break in service, status, retirement credits, salary increments,

 bonuses and benefits as if the denials of accommodation had never occurred; and

        I.     An award of actual and compensatory damages in an amount to be

 determined at trial; and

        J.     An award of costs in this action and any appeals, including reasonable

 attorney’s fees; and

        K.     An award to Plaintiffs for punitive damages in an amount to be

 determined at trial; and

        L.     An order for civil fines and penalties pursuant to New York Executive

 Law §297(9); and

        M.     An award of pre- and post-judgment interest on all amounts awarded to

 Plaintiffs and the class at the highest rates and from the earliest dates allowed by

 law on all causes of action; and

        N.     Such other and further relief as this Court may deem just and proper.

                                    JURY DEMAND

        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure and Rule 38(b)

 of the Local Rules, Plaintiffs demand a trial by jury for all the issues pleaded herein

 so triable.

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 Dated: Ithaca, New York
       January 30, 2025


                                          Respectfully Submitted,
                                          Gibson Law Firm, PLLC

                                          By:   /s/ Sujata S. Gibson
                                                Sujata S. Gibson
                                                120 E Buffalo Street, Suite 201
                                                Ithaca, NY 14850
                                                (607) 327-4125
                                                sujata@gibsonfirm.law

                                                Attorneys for the Plaintiffs




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